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                                                  Sources (2)




                                                                      AOGOVERNMENT
                                                                          EXHIBIT

                                                                              24-60126-CR-DSL



                                                                                     48



                                                                      Exhibit 48 - 0001
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                                                     Sources(2}

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                                                                       Exhibit 48 - 0002
Case 0:24-cr-60126-DSL Document 92-42 Entered on FLSD Docket 04/01/2025 Page 3 of 61




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                                                                      Exhibit 48 - 0003
Case 0:24-cr-60126-DSL Document 92-42 Entered on FLSD Docket 04/01/2025 Page 4 of 61




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                                                                      Exhibit 48 - 0004
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                                                                                          BANK OF AMERICA

    BANK OF AMERICA�;;;                                                                   Preferred Rewards
                                                                                          For Business
    P.O. Box 15284
    Wilmington, DE 19850                                                                          Customer service information



                                                                                            [!   1.888.BUSINESS (1.888.287.4637)

                                                                                            121 bankofamerica.com
      EYES ABOVE WATER LLC
                                                                                            s Bank of America, N.A.
                                                                                              P.O. Box 25118
      LAUDERDALE LAKES, FL 33311-1848                                                         Tampa, FL 33622-5118




   Your Business Advantage Fundamentals™ Banking
   Preferred Rewards for Bus Gold
   for November 1, 2023 to November 30, 2023                                              Account number:
   EYES ABOVE WATER LLC

   Account summary
   Beginning balance on November 1, 2023                               $3,580.49   # of deposits/credits: 15
    Deposits and other credits                                       477,229.31    # of withdrawals/debits: 1 61
   Withdrawals and other debits                                      -446,836.37   # of items-previous cycle1: 4
   Checks                                                             -32,356.00   # of days in cycle: 30

   Service fees                                                          -271.00   Average ledger balance: $12,491.41
   Ending balance on November 30, 2023                               $1,346.43     1
                                                                                       lnc/udes checks paid, deposited items and other debits




    PULL: E CYCLE: 67 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: CA9                                                               Page 1 of 14


                                                                                                                                Exhibit 48 - 0005
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    EYES ABOVE WATER LLC   I Account#                   November 1, 2023 to November 30, 2023


   IMPORTANT INFORMATION:
    BANK DEPOSIT ACCOUNTS
    How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

            Tell us your name and account number.
            Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
            or why you need more information.
            Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


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                             Bank of America, N.A. Member FDIC and    G)'      Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0006
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                                                  __                                                                        Your checking account
   BANK OF AMERICA                            �q
    EYES ABOVE WATER LLC I Account#                                       November 1, 2023 to November 30, 2023




    Deposits and other credits
   Date           Description                                                                                                                                            Amount

   11/01/23       Zelle payment from LLC FONTE INSURANCE SERVICES for 'INSURANCE REFUND'; Conf#                                                                          500.00
                  99a4etqcx
   11/03/23       Counter Credit                                                                                                                                     15,000.00
   11/09/23       WIRE lYPE:BOOK IN DATE:231109 TIME:1052 ET TRN:2023110900320127 SNDR REF:463813744                                                                 10,000.00
                  ORIG:TOUR MOGUL LLC ID:457048844224 PMT DET:SEAN K INGSTON DEP ART BASEL MIA 121
   11/10/23       ASA ENTERTAINMEN DES:DEPOSIT ID:DP77507128 INDN:EYES ABOVE WATER LLC F CO                                                                          12,500.00
                  ID:BIZEDP CCD PMT INFO:BALANCE FOR SEAN KINGSTON AT SUPER GIRL JACKSONVILLE
                  NOV 12
   11/14/23       RETURN OF POSTED CHECK / ITEM (RECEIVED ON 11-13)                                                                                                  31,500.00
   11/15/23       WIRE lYPE:BOOK IN DATE:231115 TIME:1110 ET TRN:2023111500366495 SNDR REF:464607926                                                               250,000.00
                  ORIG:ROYAL PEOPLE INC. ID:325137571860
   11/15/23       Online Banking Transfer Conf# ewl kxjfOq; ROYAL PEOPLE INC. ROYAL PEOPLE INC                                                                       25,000.00
   11/15/23       WIRE lYPE:WIRE IN DATE: 231115 TIME:1548 ET TRN:2023111500428207                                                                                     9,950.00
                  SEQ:2023111500375624/013493 ORIG:WF EXC RTN TO SNDR 721 WI ID:AC-0000274640507
                  SND BK:WELLS FARGO BANK, NA ID:121000248 PMT DET:4 64611536 RTN YR REF 464611536
                  DTD 1115 BY WELLS FA
   11/16/23       UNIV OF HOUSTON DES:DIRECT PAY ID:0000171517 INDN:EYES ABOVE WATER      CO                                                                         50,000.00
                  ID:8746001399 CTX ADDITIONAL INFORMATION IS AVAILABLE FOR THIS PMT. CONTACT A
                  TREASURY SALES OFFICER FOR ASSISTANCE.
   11/16/23       WIRE lYPE:WIRE IN DATE: 231116 TIME:0901 ET TRN:2023111600281148                                                                                   22,505.00
                  SEQ:320488805/345699 ORIG:JONES ENTERTAINMENT GROUP ID:03484700048 SND BK:HSBC
                  BANK USA, NA ID:0108 PMT DET:WW2311156 0914731/URI/SEAN KINGSTON DEPOSIT JONES
                  ENTERTAINM
   11/20/23       Zelle payment from MAMA KINGSTON KITCHEN Conf# kq4ghcxi5                                                                                                   87.00
   11/22/23       BEATGIG TRUST DES:SERVICES ID:SEAN KINGSTON INDN:EYES ABOVE WATER LLC CO                                                                           17,100.00
                  ID:2474462568 CCD PMT INFO:SEAN KINGSTON // NOV 25, 2023 // BEATGIG LLC
   11/24/23       WIRE lYPE:WIRE IN DATE: 231124 TIME:1522 ET TRN:2023112400655521                                                                                   15,000.00
                  SEQ:3427073328ES/812894 ORIG:SB VISION LLC ID:000521822166 SND BK:JPMORGAN CHASE
                  BANK, N.A. ID:0002 PMT DET:BMG OF 23/11/24 ARTIST DEPOSIT: SEAN KINGSTON (UGA - TEP)
                                                                                                                                                        continued on the next page




           Can you spot a scam?                                            ,              :               1                1,.



              th Contacted unexpectedly and                                    th Pressured to                            Di Asked to provide codes or
              p asked for sensitive information                            p act immediately                              p click links to verify information
                       )                 Share these tips with friends and family so they can help protect themselves
                       r.,,        .     Scan this code or visit bofa.com/HelpProtectYourself to see trending scams
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           When you use the QRC feature certain information is collected from your mobile device for business purposes.                         SSM-02-23-0079.B I 5449173




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                                                                                                                                                        Exhibit 48 - 0007
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   EYES ABOVE WATER LLC I Account#                   I November 1, 2023 to November 30, 2023



    Deposits and other credits - continued
    Date        Description                                                                                                Amount
    11/28/23    BEATGIG TRUST DES:SERVICES ID:SEAN KINGSTON INDN:EYES ABOVE WATER LLC             CO                   17,100.00
                ID:2474462S68 CCD PMT INFO:SEAN KINGSTON // NOV 2S, 2023 // BEATGIG LLC
    11/29/23    CreateMusicGroup DES:EDI PYMNTS ID:10384306648S634 INDN:Eyes Above Water, LLC CO                           987.31
                ID:1462121493 CCD
   Total deposits and other credits                                                                             $477,229.31


    Withdrawals and other debits
   11/01/23     Zelle payment to FONTE INSURANCE SERVICES, LLC for "Insurance for house tended in south                -1,350.00
                west ranche"; Conftt hgtlhsolc
   11/01/23     Zelle payment to Randy Conftt br8lx9s4I                                                                   -250.00
   11/01/23     Zelle payment to Jamaica Conftt bdylu98r2                                                                 -200.00
   11/02/23     ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE              CO                            -64.19
                ID:8881323080 PPD
   11/03/23     WIRE TYPE:WIRE OUT DATE:231103 TIME:1118 ET TRN:2023110300347854 SERVICE                              -13,000.00
                REF:007912 BNF:STEVEN TOVAR ID:440032579466 BNF BK:CHARLES SC HWAB BANK, SS
                ID:121202211 PMT DET:463039720 LAST AND FIRST RENT
   11/03/23     Zelle payment to MATTHEW EBANKS Conf# hlvyzsxlh                                                           -200.00
   11/03/23     Zelle payment to Randy Conf# icd8jdgg0                                                                    -100.00
   11/03/23     Zelle payment to Kanema Cell Conf# asmnp9cel                                                              -350.00
   11/03/23     Zelle payment to Yvonne Conf# dsi3cohc3                                                                   -100.00
   11/06/23     Zelle payment to SMJ WORLD LLC Conf# bu29677yx                                                            -350.00
   11/06/23     Zelle payment to Die Die Conf# kdz5hycpt                                                                   -30.00
   11/06/23     Zelle payment to Uber Man California Conf# nvffyjdme                                                      -375.00
   11/06/23     Zelle payment to Real Lock Smith For Southwest Ranches Conf# exObOlxdc                                    -350.00
   11/06/23     Zelle payment to Jamaica Conf# c7b9ytuni                                                                  -100.00
   11/06/23     Zelle payment to Real Lock Smith For Southwest Ranches Conf# gv23pjmnv                                    -100.00
   11/07/23     NewYorklife-AARP DES:INSURANCE ID:Al1104326 INDN:JANICE TURNER              co                             -68.00
                ID:1951985500 TEL
   11/09/23     Online Banking Transfer Conftt bgdruuw6v; williams                                                     -3,000.00
   11/09/23     Online Banking Transfer Conf# ivwcbr4bi; MAMA KINGSTON KITCHEN                                         -6,500.00
   11/10/23     Zelle payment to Suzette daughter Conf# bvg2ymgin                                                        -875.00
   11/10/23     Online Banking Transfer Conf# ethe0o22w; MAMA KINGSTON KITCHEN                                         -7,000.00
   11/13/23     Zelle payment to House Cleaning 3325 Conf# hdm94nobf                                                   -1,500.00
   11/13/23     Zelle payment to Ronald Baez for "Payment request"; Conf# f47z0m3w                                       -600.00
   11/13/23     Zelle payment to Uber Man California Conf# fcgjqomig                                                   -1,000.00
   11/13/23     Zelle payment to kisean Conf# ewyjgh42s                                                                  -200.00
   ll/13/23     Zelle payment to Tax Kebu Conf# rfi6cbmt5                                                                -150.00
   11/14/23     Online Banking Transfer Conf# q3683hq8g; MAMA KINGSTON KITCHEN                                         -1,300.00
   l l /14/23   SBA EIDL LOAN DES:PAYMENT ID:0000 INDN:KISEAN ANDERSON                 CO ID:7300000118                   -73.10
                CCD PMT INF0:9133268210
   ll/15/23     WIRE TYPE:WIRE OUT DATE:231115 TIME:1118 ET TRN:2023111500369952 SERVICE                            -200,000.00
                REF:010348 BNF:GOLD WATCHES IN ID:0294753091 BNF BK:REGIONS B ANK ID:062005690
                PMT DET:464609382 WHITE AUDEMAR C ERAMIC WHITE WATCH
                                                                                                          continued on the next page




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                                                                                                           Exhibit 48 - 0008
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                                                                                              Your checking account
    BANK OF AMERICA��
    EYES ABOVE WATER LLC   I   Account#                   November 1, 2023 to November 30, 2023




    Withdrawals and other debits - continued
    11/15/23    WIRE TYPE:WIRE OUT DATE:231115 TIME:1129 ET TRN:20231 ll500375624 SERVICE                              -10,000.00
                REF:010511 BNF:CHRISTINE BROWN ID:051400549 BNF BK:WELLS FARG O BANK, N.A.
                ID:l21000248 PMT DET:464611536
   11/15/23     WIRE TYPE:WIRE OUT DATE:231115 TIME:1140 ET TRN:20231 l l500380485 SERVICE                             -20,000.00
                REF:011022 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
                ID:121000248 PMT DET:464613566
   ll/15/23     Zelle payment to Chris Brown Aunt Conf# cSpctsblg                                                       -5,000.00
   11/15/23     Zelle payment to Kanema Cell Conf# ezk09ojib                                                               -650.00
   11/15/23     WIRE TYPE:WIRE OUT DATE:231115 TIME:1408 ET TRN:2023111500408647 SERVICE                              -10,165.00
                REF:014647 BNF:FLC LEASING ID:0050003789 BNF BK:LEGACY BANK O F FLORIDA
                ID:067015999 PMT DET:464625434
   11/15/23     Zelle payment to Uber Man California Conf# bacw6lobi                                                    -1,500.00
   11/15/23     TRANSFER EYES ABOVE WATER LLC:joshua white Confirmation# 0308301850                                     -1,456.00
   11/15/23     Online Banking Transfer Conf# ch03kudn3; williams                                                       -2,160.00
   11/15/23     WIRE TYPE:BOOK OUT DATE:231115 TIME:1659 ET TRN:20231ll500530776 RELATED                              -30,000.00
                REF:464667364 BNF:VER VER ENTERTAINMENT LLC ID:898117914738 PMT DET:INSTALL TV
   11/15/23     Zelle payment to Eve Nail Posh Conf# cguxl4jcl                                                              -30.00
   l l /15/23   ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE                   co                       -518.70
                ID:8881323080 WEB
   11/15/23     ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE                   co                       -204.90
                ID:8881323080 WEB
   11/15/23     ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE                   co                        -22.83
                ID:8881323080 WEB
   ll/16/23     Zelle payment to Sean ROY Conf# cSxcl96fk                                                                  -350.00
   ll/16/23     Zelle payment to Edward Attorney Conf# d8f8pgzs2                                                           -500.00
   11/16/23     Zelle payment to Uber Man California Conf# a4oiupu2I                                                       -120.00
   11/16/23     Zelle payment to Brandon New New Conf# egmhlgmgm                                                           -142.00
   11/16/23     Zelle payment to kisean Conf# aab6695we                                                                    -500.00
   11/16/23     Zelle payment to kisean Conf# cu9psj4sa                                                                 -4,400.00
   ll/16/23     Zelle payment to Chris Brown Aunt Conf# g5t6gpxg4                                                       -5,000.00
   11/17/23     Zelle payment to HASAN EL Conf# d7vgugisw                                                                  -800.00
   11/20/23     Zelle payment to Brandon New New Conf# ebb8Ig4uk                                                           -200.00
   11/20/23     Zelle payment to DEGGLIN PALMA COLINDRES Conf# ddOOyuhcs                                                   -500.00
   11/20/23     Zelle payment to Brandon New New Conf# ms6322aj3                                                           -200.00
   11/20/23     Zelle payment to MATTHEW EBANKS Conf# cgfrwt9bw                                                         -1,000.00
   11/20/23     Zelle payment to Kanema Cell Conf# hy9kfrgal                                                               -900.00
    11/20/23    Online Banking Transfer Conf# hbnud2lt0; MAMA KINGSTON KITCHEN                                        -10,600.00
    11/20/23    Zelle payment to Barber Garett. Conf# i5v0v7zhm                                                            -200.00
    11/20/23    Zelle payment to Tax Kebu Conf# eluy9s0f6                                                                  -100.00

   11/20/23     Zelle payment to BARNER LEGAL PA Conf# fggnyuOOt                                                           -500.00
   11/21/23     TRANSFER EYES ABOVE WATER LLC:eyes above water Confirmation# 0358170397                                    -300.00
    11/21/23    WIRE TYPE:WIRE OUT DATE:231121 TIME:1051 ET TRN:2023112100326037 SERVICE                                -8,520.00
                REF:007480 BNF:GABLES PAWN NEW ID:0419000906 BNF BK:CITY NATI ONAL BANK OFF
                ID:066004367 PMT DET:465374694
                                                                                                           continued on the next page




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                                                                                                           Exhibit 48 - 0009
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   EYES ABOVE WATER LLC I Account#                     I November 1, 2023 to November 30, 2023




   Withdrawals and other debits - continued
   Da           Descri tion                                                                                           A o t
   11/21/23     Zelle payment to Die Die Conf# gf2jrd2ax                                                           -1,518.00
   11/21/23     Zelle payment to Marleen cell Conf# fy2t90ebw                                                      -2,700.00
   11/21/23     Zelle payment to Uber Man California Conf# eq28n81ou                                                  -500.00
   11/22/23     Zelle payment to Randy Conf# ci840y8up                                                                -200.00
   11/22/23     Online Banking Transfer Conf# d6I3Ioe6s; MAMA KINGSTON KITCHEN                                        -700.00
   11/22/23     Zelle payment to Sean Roy New Conf# a2w2pw5d                                                          -150.00
   11/22/23     Zelle payment to Eye extention Conf# fi0bd4inm                                                        -500.00
   11/22/23     EMPLOYMENT DEVEL DES:EDD EFTPMT ID:XXXXXXXXX INDN:EYES'S ABOVE WATER LL CO                            -758.83
                ID:2282533055 CCD
   11/24/23     Zelle payment to Kanema Cell Conf# f7nysjpke                                                          -888.00
   11/24/23     WIRE TYPE:WIRE OUT DATE:231124 TIME:1539 ET TRN:2023112400660503 SERVICE                         -25,000.00
                REF:013825 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
                F ID:066004367 PMT DET:4658194 10 BALANCE TRUCK
   11/24/23     Zelle payment to Sean Roy New Conf# e4kj61ISg                                                           -50.00
   11/24/23     Zelle payment to Brandon New New Conf# ggup8gdnl                                                       -50.00
   11/24/23     CarMax Auto   DES:Finance     ID:CARMAXXXXXXXXXX INDN:GALARZADONALD              co                -1,145.79
                ID:EXXXXXXXXX CCD
   11/27/23     Zelle payment to Uber Man California Conf# cykssb3d5                                               -1,000.00
   11/27/23     Zelle payment to Jen Mover Uganda Conf# gpajynf8I                                                     -600.00
   11/27/23     Zelle payment to kisean Conf# gk6azni6r                                                               -200.00
   11/28/23     Zelle payment to Joshua Montalvo for "8 hour studio wave"; Conf# hi9m7vlj9                            -360.00
   11/28/23     Zelle payment to Uber Man California Conf# c8k55j7aj                                               -2,412.00
   11/28/23     Zelle payment to Kanema Cell for "Sean roy"; Conf# csgv4glul                                       -1,000.00
   11/28/23     Zelle payment to OFIR BEN-SHIMON Conf# f3tzpm2II                                                   -8,000.00
   11/28/23     Zelle payment to Die Die Conf# fz6hy5xwb                                                              -510.00
   11/28/23     Zelle payment to Trusted Paw Conf# egaouejtt                                                          -600.00
  11 /28/23     Zelle payment to kisean Conf# fwl 1zg7np                                                               -30.00
   11/29/23     Zelle payment to MAX ALEXANDRE Conf# rum24awd0                                                        -100.00
   11/29/23     Zelle payment to DAVID ISAACS Conf# gkld5iroh                                                      -1,000.00
   l l /29/23   Zelle payment to DANIESE D SIMPSON Conf# ggl gwwgzj                                                   -600.00
   11/29/23     Zelle payment to Kanema Cell Conf# ojz37na6e                                                          -100.00
   11/29/23     Zelle payment to Kanema Cell Conf# ko7b9yhvc                                                          -800.00
   11/29/23     Zelle payment to MATTHEW EBANKS Conf# oog6cn3gm                                                       -500.00
   11/29/23     Zelle payment to SEAN WEDDERBURN Conf# je03jfotv                                                      -500.00
   11 /30/23    Zelle payment to Trusted Paw Conf# no2xg6rh4                                                          -200.00
   Card account # XXXX XXXX XXXX 4594

   11/01/23     CHECKCARD 1031 LAX UNIVISION LOS ANGELES CA 2469216330410333308731 7 CKCD 5399                          -13.33
                XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/02/23     CHECKCARD 1101 WPY*JORDS Corp 855-999-3729 FL 24692163305104039335170                                 -130.00
                RECURRING CKCD 7349 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/02/23     CHECKCARD 1101 TROPICAL SMOOTHIE CAFE FT LAUDERDALEFL                                                   -31.21
                24755423306733062258049 CKCD 5814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11 /02/23    CHECKCARD 1102 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX                          -56.94
                xxxx4594
   11/03/23     CHECKCARD 1102 APPLE.COM/BILL 866-712-7753 CA 24692163306105014430562                                   -10.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
                                                                                                      continued on the next page




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                                                                                                       Exhibit 48 - 0010
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                                                                                       Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                 November 1, 2023 to November 30, 2023



   Withdrawals and other debits - continued
   11/03/23     CHECKCARD 1102 ACI FL POWER & LIGHT 800-226-3545 FL 24692163306104903086361                         -899.25
                CKCD 4900 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/03/23     Speedway     11/03 #000846 738 PURCHASE 3053 N Ocean Blvd Fort Lauderda FL                           -12.09
   11/03/23     Speedway     11/03 #000846743 PURCHASE 3053 N Ocean Blvd Fort Lauderda FL                             -4.48
   11/03/23     CHECKCARD 1703 Speedway Fort LauderdaFL CKCD 5542 XXXXXXXXXXXX4594 XXXX XXXX                        -105.96
                xxxx 4594
   11/07/23     CHECKCARD 1107 APPLE.COM/BILL 866-712-7753 CA 24692163311108626159150                                  -5.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/07/23     CHECKCARD 1107 APPLE.COM/BILL 866-712-7753 CA 24692163311108626074873                                  -9.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/07/23     CHECKCARD 1106 APPLE.COM/BILL 866-712-7753 CA 24430993370828752522693                                  -9.99
                RECURRING CKCD 5735 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/10/23     CHECKCARD 1109 APPLE.COM/BILL 866-712-7753 CA 24692163373100910069490                                 -11.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   l l /13/23   CHECKCARD 1112 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX                        -19.29
                XXXX 4594
   11/16/23     CHECKCARD 1115 POSH NAIL LOUNGE WESTON WESTON          FL 24055223319400905000295                   -193.80
                CKCD 7230 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/16/23     CHECKCARD 1116 UNITED PACIFIC LOS ANGELES CA CKCD 5541 XXXXXXXXXXXX4594 XXXX                         -71.88
                xxxx xxxx 4594
   11/16/23     CHECKCARD 1116 WENDY'S 9086 LOS ANGELES CA CKCD 5814 XXXXXXXXXXXX4594 XXXX                            -25.15
                xxxx xxxx 4594
   11/17/23     CHECKCARD 1116 DELTA AIR Baggage Fee FT LAUDERDALEFL 24717053321873210308917                         -30.00
                CKCD 3058 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/17/23     PENSKE TRK LSG l l /17 #000000435 PURCHASE 16207 ROSCOE BLVD NORTH HILLS CA                      -4,253.43
   11/17/23     NNT CRAVE CAFE 11/17 #000137815 PURCHASE 14504 VENTURA BLV SHERMAN OAKS CA                          -22.99
   11/17/23     BKOFAMERICA ATM 11/17 #000009851 WITHDRWL NORTH SHERMAN OAKS VAN NUYS CA                         -1,000.00
   l l /20/23   BKOFAMERICA ATM 11/18 #000001927 WITHDRWL SHERMAN OAKS       SHERMAN OAKS CA                       -300.00
   11/20/23     CHECKCARD 1118 LOEWS HOTELS HOLLYWOOD CA 24755423323263236964l 80 CKCD                             -175.66
                3654 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   l l /20/23   CHECKCARD 1117 CHICK-FIL-A #03773 ENCINO     CA 24427333322710028718547 CKCD                         -46.51
                5814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/20/23     CHECKCARD 1117 EXTRA SPACE 8008 SHERMAN OAKS CA 24071053322939101848573 CKCD                         -65.67
                4225 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/20/23     PENSKE TRK LSG l l /18 #000001202 PURCHASE 11101 PENDLETON S SUN VALLEY CA                       -5,712.04
   11/20/23     JOE'S SOCKS & 11/18 #000014820 PURCHASE JOE'S SOCKS & CAP LOS ANGELES CA                           -360.00
   11/20/23     MELROSE AVENUE 11/18 #000012712 PURCHASE MELROSE AVENUE LOS ANGELES CA                             -100.00
   11/20/23     CHECKCARD 1119 LOEWS HOTELS HOLLYWOOD CA 24755423324733245573916 CKCD                               -27.33
                3654 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11 /20/23    CHECKCARD 1120 COMCAST CABLE COMMUNIC BOO-COMCAST FL                                                -454.25
                24692163324109337291543 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
                4594
   11/20/23     CHECKCARD 1120 FORMSWIFT.COM/CHARGE 888-317-2977 CA 24692163324109215666048                          -37.00
                CKCD 8999 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11 /20/23    CHECKCARD 1119 LOEWS HOTELS 888-3206065 CA 24755423324733245574278 CKCD 3654                         -14.94
                XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
                                                                                                    continued on the next page




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                                                                                                     Exhibit 48 - 0011
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   EYES ABOVE WATER LLC     I   Account#           I   November 1, 2023 to November 30, 2023




   Withdrawals and other debits - continued
   11/21/23      CHECKCARD 1118 PENSKE TRK LSG 045410 SUN VALLEY CA 24138293324706000000486                  -577.20
                 CKCD 7513 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/21/23      CHECKCARD 1119 TST* WI JAMMIN CAFE - I INGLEWOOD CA 24692163324109567160442                  -68.40
                 CKCD 5812 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   l l /22/23    CHECKCARD 1120 EXTRA SPACE 8008 818-3851755 CA 24071053325939139735393                      -462.62
                 RECURRING CKCD 4225 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/22/23      CHECKCARD 1121 ATT* BILL PAYMENT 800-331-0500 TX 24055233326812430778247 CKCD               -989.60
                 4814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   l l /22/23    CHECKCARD 1121 WWW.OCEANMAZDA.COM 786-7181221 FL 24744003325900013757186                 -20,000.00
                 CKCD 5511 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11 /22/23     MARATHON PETRO 11/22 #000816084 PURCHASE MARATHON PETROl 4 WESTON          FL                -12.79
   l l /22/23    BROWARD MEAT A l l /22 #000615455 PURCHASE BROWARD MEAT AND LAUDERDALE LA FL                -420.49
   11/22/23      FPBBROWARD MEA 11 /22 #000634040 WITHDRWL 3388 N STATE RD 7 LAUDERDALE LA FL                 -23.99
   11/24/23      CHECKCARD 1122 ACI FL POWER & LIGHT 800-226-3545 FL 24692163326101359406081                 -928.26
                 CKCD 4900 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   11/24/23      CHECKCARD 1124 COMCAST CABLE COMMUNIC BOO-COMCAST FL                                        -481.88
                 24692163328102573145263 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
                 4594
   11/24/23      CHECKCARD 1123 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX                -8.06
                 xxxx 4594
   l l /24/23    CHECKCARD 1123 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX               -35.19
                 xxxx 4594
   l l /24/23    CHECKCARD 1123 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX               -25.97
                 xxxx 4594
   l l /24/23    CHECKCARD 1124 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX                -3.89
                 xxxx 4594
   11/27/23      CHECKCARD 1126 UBER *TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX               -28.07
                 xxxx 4594
   11/30/23      WALGREENS STOR 11/30 #000528439 PURCHASE WALGREENS STORE 1 PEMBROKE PINE FL                 -160.47
   Subtotal for card account # XXXX XXXX XXXX 4594                                                    -$38,439 03
   Total withdrawals and other debits                                                                -$446,836.37


   Checks
   Date          Check#                           Amount                    Date          Check#              Amount
   11/06/23      1423                             -856.00                   11/13/23     1425*            -31,500.00
                                                                            Total checks               -$32,356.00
                                                                            Total # of checks                    2
   * There is a gap in sequential check numbers




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                                                                                                   Exhibit 48 - 0012
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                                                                                                    Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                             November 1, 2023 to November 30, 2023




   Service fees
      Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period                Total year-to-date
      Total Overdraft fees                            $20.00                             $50.00
     Total NSF: Returned Item fees                    $0.00                               $0.00
     We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
          - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
          your payments and purchases by automatically transferring money from your linked backup accounts when needed.
          - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
      Please call us or visit us if you have any questions or to discuss your options.
     (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
     message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

   The Monthly Fee on your primary Business Advantage Fundamentals Banking account was waived for the statement period ending 10/31/23.
   A check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
    ✓     $250+ in new net purchases on a linked Business debit card has been met
    ✓     $5,000+ combined average monthly balance in linked business accounts has been met

    ✓     Become a member of Preferred Rewards for Business has been met
   For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please
   call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
   Date          Transaction description                                                                                                        Amount

  11/03/23       Wire Transfer Fee                                                                                                              -30.00
  11/06/23       OVERDRAFT ITEM FEE FOR ACTIVITY OF 11-06                                                                                       -10.00
  11/07/23       OVERDRAFT ITEM FEE FOR ACTIVITY OF 11-07                                                                                       -10.00
  11/09/23       Prfd Rwds for Bus-Stop Pymt Fee Waiver of $30                                                                                    -0.00
  11/09/23       Prfd Rwds for Bus-Book Credit Fee Waiver of $15                                                                                  -0.00
  11/15/23       Wire Transfer Fee                                                                                                              -30.00
  11/15/23       Wire Transfer Fee                                                                                                              -30.00
  11/15/23       Wire Transfer Fee                                                                                                              -30.00
   11/15/23      Wire Transfer Fee                                                                                                              -30.00
   11/15/23      Wire Transfer Fee                                                                                                              -30.00
  11/15/23       Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
  11/15/23       Prfd Rwds for Bus-Book Credit Fee Waiver of $15                                                                                  -0.00
  11/16/23       External transfer fee - Next Day - 11/15/2023                                                                                    -5.00
  11/16/23       Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
  11/21/23       Wire Transfer Fee                                                                                                              -30.00
  11/22/23       FPBBROWARD          11/22 #000633934 BAL INQ 3388 N STATE RD 7                                                                   -2.50
                 FEE
                                                                                                                               continued on the next page




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                                                                                                                                Exhibit 48 - 0013
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   EYES ABOVE WATER LLC I Account#                             I November 1, 2023 to November 30, 2023



   Service fees - continued
   Date           Transaction description                                                                                    Amount
   l l /22/23     FPBBROWARD MEA 11/22 #000634040 WITHDRWL 3388 N STATE RD 7                                                   -2.50
                  LAUDERDALE LA FL FEE CKCD   XXXXXXXXXXXX4594

   11/22/23      External transfer fee - 3 Day -      11/21/2023                                                               -1.00

   11/24/23       Wire Transfer Fee                                                                                          -30.00
   11/24/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                      -0.00

   Total service fees                                                                                                    -$271.00
   Note your Ending Balance already reflects the subtraction of Service Fees.




   Daily ledger balances
   Date                                 Balance($)     Date                               Balance($)     Date             Balance($)

   11/01                                2,267.16       11/13                           -29,959.20        11/22           15,606.70
   11/02                                1,984.82       11/14                               167.70        11/24             1,959.66
   11/03                                2,172.05       11/15                              3,260.27       11/27              131.59
   11/06                                      1.05     11/16                            64,457.44        11/28             4,319.59
   11/07                                    -102.92    11/17                            58,351.02        11/29             1,706.90
   11/09                                    397.08     11/20                            36,944.62        11 /30            1,346.43
   11/10                                5,010.09       11/21                            22,731.02




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   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                                               I November 1, 2023 to November 30, 2023

  Check images
  Account number:
  Check number: 1423 I Amount: $856.00



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                                                                                                                           Exhibit 48 - 0015
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   EYES ABOVE WATER LLC   I Account#       I   November 1, 2023 to November 30, 2023




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                                                                                       Exhibit 48 - 0016
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   EYES ABOVE WATER LLC I Account#       I November 1, 2023 to November 30, 2023




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                                                                                   Exhibit 48 - 0017
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   EYES ABOVE WATER LLC I Account#       I   November 1, 2023 to November 30, 2023




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                                                                                     Exhibit 48 - 0018
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   BANK OF AMERICA                           �q
                                                 _.....                                BANK OF AMERICA

                                                                                       Preferred Rewards
                                                                                       For Business
   P.O. Box 15284
   Wilmington, DE 19850                                                                        Customer service information


                                                                                         g 1.888.BUSINESS (1.888.287.4637)
                                                                                        141 bankofamerica.com
     EYES ABOVE WATER LLC
     RONALD LINDO                                                                       B Bank of America, N.A.
                                                                                          P.O. Box 25118
                                                                                          Tampa, FL 33622-5118
     LAUDERDALE LAKES, FL 33311-1848




  Your Business Advantage Fundamentals™ Banking
  Preferred Rewards for Bus Gold
   for November 1, 2023 to November 30, 2023                                           Account number:
   EVES ABOVE WATER LLC

  Account summary
  Beginning balance on November 1, 2023                              $203,580.49   # of deposits/credits: 15
   Deposits and other credits                                         477,229.31   # of withdrawals/debits: 161
  Withdrawals and other debits                                       -346,836.37   # of items-previous cycle1: 4
   Checks                                                             -32,356.00   # of days in cycle: 30
   Service fees                                                          -271.00   Average ledger balance: $312,491.41
   Ending balance on November 30, 2023                              $301,346.43    'Includes checks paid. deposited items and other debits




   PULL: E CYCLE: 67 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: CA9                                                             Page 1 of 14

                                                                                                                              Exhibit 48 - 0019
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   EYES ABOVE WATER LLC    I Account It               I   November 1, 2023 to November 30, 2023


   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial. center for information.


   © 2023 Bank of America Corporation



                             Bank of America, N.A. Member FDIC and      G}       Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0020
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                                                  ---                                                                       Your checking account
   BANK OF AMERICA --?
                     �
   EYES ABOVE WATER LLC I Account#                                        November 1, 2023 to November 30, 2023




   Deposits and other credits
   Date           Description                                                                                                                                            Amount
   11/01/23       Zelle payment from LLC FONTE INSURANCE SERVICES for "INSURANCE REFUND"; Conf#                                                                          500.00
                  99a4etqcx
   11/03/23       Counter Credit                                                                                                                                     15,000.00
   11/09/23       WIRE TYPE:BOOK IN DATE:231109 TIME:l 052 ET TRN:2023110900320127 SNDR REF:463813744                                                                10,000.00
                  ORIG:TOUR MOGUL LLC ID:457048844224 PMT DET:SEAN K INGSTON DEP ART BASEL MIA 121
   11/10/23       ASA ENTERTAINMEN DES:DEPOSIT ID:DP77507128 INDN:EYES ABOVE WATER LLC F CO                                                                          12,500.00
                  ID:BIZEDP CCD PMT INFO:BALANCE FOR SEAN KINGSTON AT SUPER GIRL JACKSONVILLE
                  NOV 12
   11/14/23       RETURN OF POSTED CHECK / ITEM (RECEIVED ON 11-13)                                                                                                  31,500.00
   11/15/23       WIRE TYPE:BOOK IN DATE:231115 TIME:1110 ET TRN:2023111500366495 SNDR REF:464607926                                                               250,000.00
                  ORIG:ROYAL PEOPLE INC. ID:325137571860
   11/15/23       Onl ine Banking Transfer Conf# ewl kxjfOq; ROYAL PEOPLE INC, ROYAL PEOPLE INC                                                                     25,000.00
   11/15/23       WIRE TYPE:WIRE IN DATE: 231115 TIME:1548 ET TRN:2023111500428207                                                                                    9,950.00
                  SEQ:20231 l 1500375624/013493 ORIG:WF EXC RTN TO SNDR 721 WI ID:AC-0000274640507
                  SND BK:WELLS FARGO BANK, NA ID:121000248 PMT DET:4 64611536 RTN YR REF 464611536
                  DTD 1115 BY WELLS FA
   11/16/23       UNIV OF HOUSTON DES:DIRECT PAY ID:0000171517 INDN:EYES ABOVE WATER      CO                                                                         50,000.00
                  ID:8746001399 CTX ADDITIONAL INFORMATION IS AVAILABLE FOR THIS PMT. CONTACT A
                  TREASURY SALES OFFICER FOR ASSISTANCE.
   11/16/23       WIRE TYPE:WIRE IN DATE: 231116 TIME:0901 ET TRN:2023111600281148                                                                                   22,505.00
                  SEQ:320488805/345699 ORIG:JONES ENTERTAINMENT GROUP ID:03484700048 SND BK:HSBC
                  BANK USA, NA ID:0108 PMT DET:WW2311156 0914731/URI/SEAN KINGSTON DEPOSIT JONES
                  ENTERTAINM
   11/20/23       Zelle payment from MAMA KINGSTON KITCHEN Conf# kq4ghcxi5                                                                                                   87.00
   11/22/23       BEATGIG TRUST DES:SERVICES ID:SEAN KINGSTON INDN:EYES ABOVE WATER LLC                                               CO                            17,100.00
                  ID:2474462568 CCD PMT INFO:SEAN KINGSTON // NOV 25, 2023 // BEATGIG LLC
   11 /24/23      WIRE TYPE:WIRE IN DATE: 231124 TIME:1522 ET TRN:2023112400655521                                                                                   15,000.00
                  SEQ:3427073328ES/812894 ORIG:SB VISION LLC ID:000521822166 SND BK:JPMORGAN CHASE
                  BANK, N.A. ID:0002 PMT DET:BMG OF 23/11/24 ARTIST DEPOSIT: SEAN KINGSTON (UGA - TEP)
                                                                                                                                                        continued on the next page




           Can you spot a scam?                                                           :·              •,
               rl7 Contacted unexpectedly and                               rl7 Pressured to                              rl7 Asked to provide codes or
               F asked for sensitive Information                           F act Immediately                              F click links to verify Information
                       �               Share these tips with friends and family so they can help protect themselves
                                       Scan this code or visit bofa.com/HelpProtectVourself to see trending scams
                       l!l. -�
           When you use the QRC feature certain information is collected from your mobile device for business purposes.                         SSM-02-23-0079.B I 5449173




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   EYES ABOVE WATER LLC I Account#                     I November 1, 2023 to November 30, 2023



   Deposits and other credits - continued
   Date       Description                                                                                                   Amount
   11/28/23   BEATGIG TRUST DES:SERVICES ID:SEAN KINGSTON INDN:EYES ABOVE WATER LLC                   CO                17,100.00
              ID:2474462568 CCD PMT INFO:SEAN KINGSTON // NOV 25, 2023 // BEATGIG LLC

   11/29/23   CreateMusicGroup DES:EDI PYMNTS ID:l03843066485634 INDN:Eyes Above Water, LLC CO                              987.31
              ID:1462121493 CCD

   Total deposits and other credits                                                                              $477,229.31


   Withdrawals and other debits
   Date       Description                                                                                                  Amount
   11/01/23   Zelle payment to FONTE INSURANCE SERVICES, LLC for "Insurance for house tended in south                    -1,350.00
              west ranche"; Conf# hgtlhsolc
   11/01/23   Zelle payment to Randy Conf# br81x9s41                                                                       -250.00
   11/01/23   Zelle payment to Jamaica Conf# bdylu98r2                                                                     -200.00
   11/02/23   ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE                    co                          -64.19
              ID:8881323080 PPD
   11/03/23   WIRE TYPE:WIRE OUT DATE:231103 TIME:1118 ET TRN:2023110300347854 SERVICE                                 -13,000.00
              REF:007912 BNF:STEVEN TOVAR ID:440032579466 BNF BK:CHARLES SC HWAB BANK, SS
              ID:121202211 PMT DET:463039720 LAST AND FIRST RENT
   11/03/23   Zelle payment to MATTHEW EBANKS Conf# hlvyzsxlh                                                              -200.00
   11/03/23   Zelle payment to Randy Conf# icdBjdggO                                                                       -100.00
   11/03/23   Zelle payment to Kanema Cell Conf# asmnp9cel                                                                 -350.00
   11/03/23   Zelle payment to Yvonne Conf# dsi3cohc3                                                                      -100.00
   11/06/23   Zelle payment to SMJ WORLD LLC Conf# bu29677yx                                                               -350.00
   11/06/23   Zelle payment to Die Die Conf# kdz5hycpt                                                                       -30.00
   11/06/23   Zelle payment to Uber Man California Conf# nvffyjdme                                                         -375.00
   11/06/23   Zelle payment to Real Lock Smith For Southwest Ranches Conf# exObOl xdc                                      -350.00
   11/06/23   Zelle payment to Jamaica Conf# c7b9ytuni                                                                     -100.00
   11/06/23   Zelle payment to Real Lock Smith For Southwest Ranches Conf# gv23pjmnv                                       -100.00
   11/07/23   NewYorklife-AARP DES:INSURANCE ID:AXXXXXXXX INDN:JANICE TURNER                     co                          -68.00
              ID:1951985500 TEL
   11/09/23   Online Banking Transfer Conf# bgdruuw6v; williams                                                         -3,000.00
   11/09/23   Online Banking Transfer Conf# ivwcbr4bi; MAMA KINGSTON KITCHEN                                            -6,500.00
  11/10/23    Zelle payment to Suzette daughter Conf# bvg2ymgin                                                            -875.00
  11/10/23    Online Banking Transfer Conf# ethe0o22w; MAMA KINGSTON KITCHEN                                            -7,000.00
   11/13/23   Zelle payment to House Cleaning 3325 Conf# hdm94nobf                                                      -1,500.00
   ll/13/23   Zelle payment to Ronald Baez for "Payment request"; Conf# f47z0zn3w                                          -600.00
   11/13/23   Zelle payment to Uber Man California Conf# fcgjgomig                                                      -1,000.00
   11/13/23   Zelle payment to kisean Conf# ewyjgh42s                                                                      -200.00
   11/13/23   Zelle payment to Tax Kebu Conf# rfi6cbmt5                                                                    -150.00
   11/14/23   Online Banking Transfer Conf# g3683hg8g; MAMA KINGSTON KITCHEN                                            -1,300.00
   11/14/23   SBA EIDL LOAN DES:PAYMENT         1D:0000 INDN:KISEAN ANDERSON            CO ID:7300000118                     -73.10
              CCD PMT INF0:9133268210
   ll/15/23   WIRE TYPE:WIRE OUT DATE:231115 TIME:1118 ET TRN:2023111500369952 SERVICE                               -100,000.00
              REF:010348 BNF:GOLD WATCHES IN ID:0294753091 BNF BK:REGIONS B ANK ID:062005690
              PMT DET:464609382 WHITE AUDEMAR C ERAMIC WHITE WATCH
                                                                                                           continued on the next page




                                                                                                            Page 4 of 14


                                                                                                            Exhibit 48 - 0022
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                                     _....                                           Your checking account
   BANK OF AMERICA               �q
   EYES ABOVE WATER LLC I Account#                November 1, 2023 to November 30, 2023




   Withdrawals and other debits - continued
   ll/15/23    WIRE TYPE:WIRE OUT DATE:231115 TIME:1129 ET TRN:2023111500375624 SERVICE                       -10,000.00
               REF:010511 BNF:CHRISTINE BROWN ID:051400549 BNF BK:WELLS FARG O BANK, N.A.
               ID:121000248 PMT DET:464611536
   ll/15/23    WIRE TYPE:WIRE OUT DATE:231115 TIME:1140 ET TRN:2023111500380485 SERVICE                       -20,000.00
               REF:011022 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
               ID:121000248 PMT DET:464613566
   11/1 S/23   Zelle payment to Chris Brown Aunt Conf# c5pctsb1g                                               -5,000.00
   11/15/23    Zelle payment to Kanema Cell Conf# ezk09ojib                                                      -650.00
   11/15/23    WIRE TYPE:WIRE OUT DATE:231115 TIME:1408 ET TRN:2023111500408647 SERVICE                       -10,165.00
               REF:014647 BNF:FLC LEASING ID:0050003789 BNF BK:LEGACY BANK O F FLORIDA
               ID:067015999 PMT DET:464625434
  11/15/23     Zelle payment to Uber Man California Conf# bacw61obi                                            -1,500.00
  11/15/23     TRANSFER EYES ABOVE WATER LLC:joshua white Confirmation# 0308301850                             -1,456.00
  11/15/23     Online Banking Transfer Conf# ch03kudn3; williams                                               -2,160.00
  11/15/23     WIRE TYPE:BOOK OUT DATE:231115 TIME:1659 ET TRN:2023111500530776 RELATED                       -30,000.00
               REF:464667364 BNF:VER VER ENTERTAINMENT LLC ID:898117914738 PMT DET:INSTALL TV
   ll/15/23    Zelle payment to Eve Nail Posh Conf# cgux14jcl                                                      -30.00
   ll/15/23    ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE       co                           -518.70
               ID:8881323080 WEB
  11/15/23     ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE       co                           -204.90
               ID:8881323080 WEB
  ll/15/23     ADT SECURITY SER DES:ADTPAPACH ID:XXXXXXXXX INDN:TURNER, JANICE        co                           -22.83
               ID:8887323080 WEB
  11/16/23     Zelle payment to Sean ROY Conf# c5xcl 96fk                                                       -350.00
  11/16/23     Zelle payment to Edward Attorney Conf# d8f8pgzs2                                                 -500.00
  11/16/23     Zelle payment to Uber Man California Conf# a4oiupu21                                             -120.00
  ll/16/23     Zelle payment to Brandon New New Conf# egmhlgmgm                                                 -142.00
  11/16/23     Zelle payment to kisean Conf# aab6695we                                                          -500.00
  11/16/23     Zelle payment to kisean Conf# cu9psj4sa                                                        -4,400.00
  ll/16/23     Zelle payment to Chris Brown Aunt Conf# g5t6gpxg4                                              -5,000.00
  11/17/23     Zelle payment to HASAN EL Conf# d7vgugisw                                                        -800.00
  11/20/23     Zelle payment to Brandon New New Conf# ebb81g4uk                                                 -200.00
  11/20/23     Zelle payment to DEGGLIN PALMA COLINDRES Conf# ddOOyuhcs                                         -500.00
  11/20/23     Zelle payment to Brandon New New Conf# ms6322aj3                                                 -200.00
  11/20/23     Zelle payment to MATTHEW EBANKS Conf# cgfrwt9bw                                                -1,000.00
  11/20/23     Zelle payment to Kanema Cell Conf# hy9kfrgal                                                     -900.00
  11/20/23     Online Banking Transfer Conf# hbnud2lt0; MAMA KINGSTON KITCHEN                                -10,600.00
  11/20/23     Zelle payment to Barber Garett. Conf# i5v0v7zhm                                                  -200.00
  11/20/23     Zelle payment to Tax Kebu Conf# eluy9s0f6                                                        -100.00
  ll/20/23     Zelle payment to BARNER LEGAL PA Conf# fggnyuOOt                                                 -500.00
  11/21/23     TRANSFER EYES ABOVE WATER LLC:eyes above water Confirmation# 0358170397                          -300.00
  11/21/23     WIRE TYPE:WIRE OUT DATE:231121 TIME:1051 ET TRN:2023112100326037 SERVICE                       -8,520.00
               REF:007480 BNF:GABLES PAWN NEW ID:0419000906 BNF BK:CITY NATI ONAL BANK OF F
               ID:066004367 PMT DET:465374694
                                                                                                  continued on the next page




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                                                                                                   Exhibit 48 - 0023
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   BANK OF AMERICA                              �q
                                                    --                                                                 BANK OF AMERICA

                                                                                                                       Preferred Rewards
                                                                                                                       For Business
   P.O. Box 15284
   Wilmington, DE 19850                                                                                                        Customer service information


                                                                                                                         g 1 .888.BUSINESS (1.888.287.4637)
                                                                                                                         121 bankofamerica.com
     EYES ABOVE WATER LLC
                                                                                                                         s Bank of America, N.A.
                                                                                                                           P.O. Box 25118
     LAUDERDALE LAKES, FL 33311-1848                                                                                       Tampa, FL 33622-5118




  Your Business Advantage Fundamentals™ Banking
  Preferred Rewards for Bus Gold
   for December 1, 2023 to December 31, 2023                                                                           Account number:
  EYES ABOVE WATER LLC

   Account summary
   Beginning balance on December 1, 2023                                                     $1,346.43            # of deposits/credits: 19
   Deposits and other credits                                                               275,564.76            # of withdrawals/debits: 110
  Withdrawals and other debits                                                            -276,882.45             # of items-previous cycle1 : 2
  Checks                                                                                            -0.00         # of days in cycle: 31
   Service fees                                                                                  -365.00          Average ledger balance: $2,717.13
   Ending balance on December 31, 2023                                                       -$336.26             'Includes checks paid, deposited items and other debits




             BUSINESS ADVANTAGE

             View your key business metrics all in one place.
             Track the trends that matter most to your business, from cash flow and expense management to
             accounting and payroll data, all within Business Advantage 360.1
             To learn more, visit bankofamerlca.com/ConnectedApps or just scan this code.
           When you use the QRC feature, certain information is collected from your mobile device for business purposes.
         ' You must be enrolled in Business Advantage 360, our sman business online banking, or Mobile Banking to use Cash Flow Monitor and Connected Apps, and have an eligible
           Bank of America• small business deposit a::count Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices.
           Message and clata rates may appl�                                                                                                           SSM--011-22--01oe.e I 4878896



   PULL: E CYCLE: 67 SPEC: E DELIVERY: E lYPE: IMAGE: I BC: CA3                                                                                                    Page 1 of 8

                                                                                                                                                                    Exhibit 48 - 0024
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   EYES ABOVE WATER LLC    I Account#                 I   December 1, 2023 to December 31, 2023


   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


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                             Bank of America, N.A. Member FDIC and      '(=)'    Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0025
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                                                     __                                                                           Your checking account
   BANK OF AMERICA                                �q
   EYES ABOVE WATER LLC I Account#                                             December 1, 2023 to December 31, 2023




   Deposits and other credits
   Date             Description                                                                                                                                                            Amount
   12/01/23         Online Banking Transfer Conf# lmeul pd89; MEHAR, JASPAL                                                                                                         25,000.00
   12/04/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# ekb6mfe5x                                                                                                               100.00
   12/05/23         WIRE TYPE:WIRE IN DATE: 231205 TIME:1659 ET TRN:2023120500490155                                                                                                19,000.00
                    SEQ:2023120500160092/499689 ORIG:YVONNE E FLEMMINGS ID:000003520820493 SND BK:
                    WELLS FARGO BANK NA ID:0407 PMT DET:00661343396524 OOLOAN
   12/05/23        WIRE TYPE:WIRE IN DATE: 231205 TIME:0607 ET TRN:2023120500221863                                                                                                 10,000.00
                   SEQ:3151613339ES/003111 ORIG:BURKE DEVELOPMENT GROUP, ID:915376096 SND BK:
                   JPMORGAN CHASE BANK, NA ID:021000021 PMT DET:BPL O F 23/12/05 NICKI MINAJ BOOKING
                   COMMISSION DEPOSIT
   12/06/23         WIRE TYPE:WIRE IN DATE: 231206 TIME:1555 ET TRN:2023120600454524                                                                                                10,000.00
                    SEQ:2023120600151817 /498212 ORIG:RUNWAY ENTERPRISES, LLC ID:000002839138282 SND
                    BK:WELLS FARGO BANK NA ID:0407 PMT DET:241 SEA N KINGSTON SLS MIAMI 12/10
   12/06/23         Zelle payment from ROYAL PEOPLE INC Conf# gu47c94oq                                                                                                              2,000.00
   12/06/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# cmrhutpfr                                                                                                               100.00
   12/08/23         WIRE TYPE:WIRE IN DATE: 231208 TIME:1627 ET TRN:2023120800477983                                                                                                10,000.00
                    SEQ:20231208000017 45/001495 ORIG:SUNS LEGACY PARTNERS, LL ID:4291227283 SND
                    BK:FIRSTBANK ID:107005047 PMT DET:SUNS LEGACY PARTNERS, LLC PHOENIX SUNS HALF
                    TIME ACT 12.15.23
   12/11/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# gqcssmfns                                                                                                               500.00
   12/13/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# ef5mkuqd0                                                                                                                30.00
   12/14/23         WIRE TYPE:WIRE IN DATE: 231214 TIME:0506 ET TRN:2023121400167251                                                                                                 1,142.01
                    SEQ:SWF009594348/l 932 l 5 ORIG:PHONOGRAPHIC PERFORMANCE ID:0202000001373519 SND
                    BK:BARCLAYS BANK PLC ID:0257 PMT DET:PET498722 348 8/0 PPL - P107044539089 OTHERS
                    /ROC/2312130105
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325833                                                                                                 60,000.00
                    SEQ:264FT01233490009/129315 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918366
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325848                                                                                                 60,000.00
                    SEQ:264FT01233490008/129316 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918367
   12/18/23         Counter Credit                                                                                                                                                  10,000.00
                                                                                                                                                                        continued on the next page




              BANK OF AMEPICA BUSINESS ADVANTA[,f                              • Update your contact information so we can reach you If we suspect fraud.
                                                                               •Setup alerts 1 In our Mobile Banking app2 so we can reach you quckly
                                     -�--7
                                     I,       I                                  If we see anything suspicious.
                                        \,____/
                                                                               • Report susp ci ious activt
                                                                                                          i y right away.
                         Fraud prevention                                      Learn more about fraud and scam prevention in our
                  We're here to help                                           Business Security Center at bankofamer1ca.com/securltybuslness.
          1 You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's message and data rates may apply. Delivery of
           alerts may be affected or delayed by your mobile canier's coverage. 2 Mobile Banking requires that you download the Mobile Banking app and Is only available for select
            mobile devices. Message and data rates may apply.                                                                                                  SSM-01-23-2588B I 5422885


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                                                                                                                                                                        Exhibit 48 - 0026
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   EYES ABOVE WATER LLC I Account#                I December 1, 2023 to December 31, 2023



   Deposits and other credits - continued
   Date        Description                                                                                           Amount
   12/19/23    WIRE TYPE:INTL IN DATE:231219 TIME:0525 ET TRN:2023121900124738                                   60,000.00
               SEQ:264FT01233530001/195142 ORIG:ROCKSKI ID:5020003063 7789 PMT DET:TOWARDS ENT
               ERTAINMNT SERVICE
   12/27/23    RETURN OF POSTED CHECK / ITEM (RECEIVED ON 12-26)                                                   1,145.79
   12/27/23    Online Banking Transfer Conf# coi5xo24g; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                   3,200.00
   12/27/23    Online Banking Transfer Conf# h79umelg3; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                   2,300.00
   12/29/23    CreateMusicGroup DES:EDI PYMNTS ID:103843068448052 INDN:Eyes Above Water, LLC CO                    1,046.96
               ID:1462121493 CCD

   Total deposits and other credits                                                                       $275,564.76


   Withdrawals and other debits
   Date        Description                                                                                         Amount
   12/01/23    Online Banking Transfer Conf# fyfci7Iyp; williams                                                 -7,000.00
   12/01/23    WIRE TYPE:WIRE OUT DATE:237201 TIME:1353 ET TRN:2023120700492887 SERVICE                          -5,000.00
               REF:014477 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
               F ID:066004367 PMT DET:4670338 34 BALANCE OF DEPOSIT
   12/01/23    WIRE TYPE:WIRE OUT DATE:231201 TIME:1359 ET TRN:202372070049677 9 SERVICE                         -4,000.00
               REF:014682 BNF:PRISTINE JEWELERS ID:1504750492 BNF BK:FLAGSTA R BANK, N.A. (FO
               ID:026013576 PMT DET:467035576
   12/01 /23   Zelle payment to Nice Dj Conf# ehi37upgd                                                            -400.00
   12/01/23    WIRE TYPE:WIRE OUT DATE:231207 TIME:1617 ET TRN:2023720700571536 SERVICE                          -6,500.00
               REF:078909 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
               DET:467071508 DEPOSIT GOLF CART BALANCE 25000
   12/01/23    Online Banking Transfer Conf# h6mupuh0f; MAMA KINGSTON KITCHEN                                   -5,000.00
   12/01/23    Zelle payment to kisean Conf# eak59ozdm                                                          -2,500.00
   12/01/23    Zelle payment to Uber Man California Conf# b4g8nywxh                                             -1,600.00
   12/06/23    WIRE TYPE:WIRE OUT DATE:237206 TIME:1251 ET TRN:2023120600369648 SERVICE                        -37,000.00
               REF:009795 BNF:4670SWR LLC ID:6709006 BNF BK:UBANK ID:1137236 67 PMT DET:467720754
               DECEMBER RENT
   12/07/23    Zelle payment to JONATHAN M WILLIAMS Conf# asstwd3hu                                                -275.00
   12/07/23    Zelle payment to Randy Conf# b6mp5mexb                                                              -300.00
   12/07/23    Zelle payment to DENISE MCKAY Conf# hpwcgp3wr                                                     -7,000.00
   12/07/23    Online Banking Transfer Conf# gwqjos9ph; MAMA KINGSTON KITCHEN                                    -7,000.00
   12/07/23    Zelle payment to Jamaica Conf# it2bhbzp3                                                            -675.00
   12/07/23    Zelle payment to kisean Conf# d4y36mzl p                                                            -200.00
   12/07/23    Zelle payment to MATTHEW EBANKS Conf# gnhrhtxtp                                                      -50.00
   12/07/23    NewYorkLife-AARP DES:INSURANCE ID:AXXXXXXXX INDN:JANICE TURNER        co                             -68.00
               ID:7951985500 TEL
   12/08/23    Zelle payment to Uber Man California Conf# hdzi7xohe                                                -500.00
   12/11/23    Zelle payment to Grow Likes Conf# om7nu4b4g                                                         -500.00
   12/71/23    Zelle payment to Randy Conf# ampvdjzhg                                                              -100.00
   12/11/23    Zelle payment to Grow Likes Conf# arplzOjzf                                                         -500.00
   12/11/23    Online Banking Transfer Conf# fgegg4xke; MAMA KINGSTON KITCHEN                                    -2,500.00
   12/11/23    Zelle payment to kisean Conf# bg4r4ofih                                                             -200.00
   12/11/23    Zelle payment to Lindo Security Conf# flrgmpjo2                                                     -800.00
   l2/ll/23    Online Banking Transfer Conf# iij87kb9c; MAMA KINGSTON KITCHEN                                      -100.00
                                                                                                    continued on the next poge




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                                                                                       Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                 December l, 2023 to December 31, 2023




   Withdrawals and other debits - continued
   12/14/23    Zelle payment to Robert Daniel Conf# bcisbmbo5                                                      -700.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0942 ET TRN:2023121500344891 SERVICE                         -25,000.00
               REF:010344 BNF:OCEAN AUTO CENTER INC ID:3000044451 l BNF BK:CI TY NATIONAL BANK OF
               F ID:066004367 PMT DET:4690512 44
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0944 ET TRN:2023121500345609 SERVICE                        -85,000.00
               REF:010374 BNF:GOLD WATCHES IN ID:0294753091 BNF BK:REGIONS B ANK ID:062005690
               PMT DET:469051636
   12/1S/23    Zelle payment to BRADLEY CROOKS Conf# cgk5gag6k                                                   -1,115.00
   12/15/23    Online Banking Transfer Conf# h4sbvimea; cunningham                                               -1,500.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:1229 ET TRN:2023121500440538 SERVICE                            -200.00
               REF:014670 BNF:EYES ABOVE WATER ID:1100022894119 BNF BK:TRUIS T BANK ID:263191387
               PMT DET:469090092
   12/15/23    Online Banking Transfer Conf# d7urw0shs; MAMA KINGSTON KITCHEN                                   -3,500.00
   12/15/23    Online Banking Transfer Conf# egnypf6sp; williams                                                  -500.00
   12/15/23    Zelle payment to Eye extention Conf# cl hhxgku2                                                    -500.00
   12/18/23    Zelle payment to Jamaica Conf# idOunlyob                                                           -100.00
   12/18/23    Zelle payment to kisean Conf# pc4e3gjnu                                                            -100.00
   12/18/23    Zelle payment to KEVIN FAIN Conf# dcabra444                                                        -300.00
   12/18/23    Online Banking Transfer Conf# ff330qfe2; MAMA KINGSTON KITCHEN                                     -300.00
   12/19/23    Legal Order, LTS Pl 21923000868                                                                 -14,641.67
   12/19/23    Zelle payment to JASMINE WALKER Conf# ejh2ce9he                                                    -300.00
   12/19/23    WIRE TYPE:WIRE OUT DATE:231219 TIME:0558 ET TRN:2023121900212706 SERVICE                        -25,000.00
               REF:003935 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
               ID:121000248 PMT DET:469455002
   12/19/23    Zelle payment to Kanema Cell Conf# dxegohyOf                                                      -2,000.00
   12/19/23    Zelle payment to Randy Conf# f0eyldmj9                                                              -200.00
   12/19/23    Zelle payment to Hair dresser Conf# ckwmko0c5                                                      -250.00
   12/19/23    Zelle payment to Uber Man California Conf# d3296zkgj                                               -200.00
    12/19/23   Zelle payment to Jerk Man Conf# fjydl l iwx                                                        -250.00
   .12/19/23   WIRE TYPE:WIRE OUT DATE:231219 TIME:1317 ET TRN:2023121900213200 SERVICE                        -10,200.00
               REF:010593 BNF:FLC LEASING ID:0050003789 BNF BK:LEGACY BANK O F FLORIDA
               ID:067015999 PMT DET:469455030
   12/19/23    Zelle payment to Randy Conf# ejnOezbnr                                                             -400.00
   12/19/23    Zelle payment to Jamaica Conf# b7sdce4k5                                                           -200.00
   12/19/23    Zelle payment to kisean Conf# hirb9lxus                                                            -200.00
   12/19/23    Online Banking Transfer Conf# bcjpubdke; MAMA KINGSTON KITCHEN                                  -11,000.00
   12/22/23    EMPLOYMENT DEVEL DES:EDD EFTPMT ID:XXXXXXXXX INDN:EYES'S ABOVE WATER LL CO                         -758.83
               ID:2282533055 CCD
   12/26/23    CarMax Auto     DES:Finance ID:CARMAXXXXXXXXXX INDN:GALARZADONALD        co                       -1,145.79
               ID:EXXXXXXXXX CCD
   12/27/23    TRANSFER EYES ABOVE WATER LLC:vanuys pawn Confirmation# 0577090053                                -3,317.00
   12/27/23    Online Banking Transfer Conf# f6ck8reeh; MAMA KINGSTON KITCHEN                                    -1,000.00
                                                                                                    continued on the next page




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                                                                                                     Exhibit 48 - 0028
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   EYES ABOVE WATER LLC I Account#              / December 1, 2023 to December 31, 2023




   Withdrawals and other debits - continued
   Date       Description                                                                                                 Amount
   12/29/23   FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC            CO                 -1,269.20
              ID:3590247775 WEB
   12/29/23   FPL DIRECT DEBIT DES:ELEC PYMT ID:4913049344 WEBI INDN:EYES ABOVE WATER LLC            CO                   -273.57
              ID:3590247775 WEB
   Card account # XXXX XXXX XXXX 4594
   12/01/23   CHECKCARD 1130 APPLE.COM/BILL 866-712-7753 CA 246927 63335108571729637                                        -14.99
              RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/01/23   CHECKCARD 1130 NW HEART & HEALTH STAT MARGATE          FL 24761973334206980400136                           -276.25
              CKCD 8011 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/04/23   CHECKCARD 1201 PROBATIONER PYMTS 866-931-2222 CA 24137463335300909704088 CKCD                                 -25.00
              9399 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/06/23   CHECKCARD 1205 APPLE.COM/BILL 866-712-7753 CA 24692163339102996965039                                         -10.99
              RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/06/23    CHECKCARD 1206 APPLE COM BILL CUPERTINO CA 00000000000000000686677 RECURRING                                   -9.99
              CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/11/23    CHECKCARD 1208 APPLE.COM/BILL 866-712-7753 CA 24692163342105252866770                                          -9.99
              RECURRING CKCD 5818 XXXXXXXXXXXX4S94 XXXX XXXX XXXX 4594
  12/11/23    CHECKCARD 1208 APPLE.COM/BILL 866-712-7753 CA 24692163342705310300630                                          -5.99
              RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/11/23   CHECKCARD 1210 APPLE.COM/BILL 866-712-7753 CA 246927 63344107060945083                                        -11.99
              RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/11/23    CHECKCARD 1209 NATL GEN INS N WINSTON       NC CKCD 6300 XXXXXXXXXXXX4594 XXXX                           -2,450.00
              xxxx xxxx 4594
  12/11/23    PUBLIX SUPER M 12/09 #000242496 WITHDRWL 5855 W OAKLAND PA LAUDERHILL             FL                        -402.95
  12/11/23    BALENCIAGA #73 12/09 #00097 9634 PURCHASE 12801 WEST SUNRIS SUNRISE          FL                          -2,689.98
  12/11/23    CHECKCARD 1210 TST* MATCHBOX SAWGRASS SUNRISE          FL 247 37463344500788541019                           -58.05
              CKCD 5812 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/12/23    CHECKCARD 1209 The New Blue Mtn Rest & Lauderhill FL 24744553346240001695067 CKCD                           -216.00
              5812 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/18/23    NNT DESTINATIO 12/16 #000015322 PURCHASE 13001 W. SUNRISE SUNRISE           FL                              -894.52
  12/18/23    BALENCIAGA #73 12/16 #000878344 PURCHASE 12801 WEST SUNRIS SUNRISE           FL                          -1,143.83
  12/18/23    CHECKCARD 1216 TMOBILE POSTPA BELLEVUE       WA CKCD 4814 XXXXXXXXXXXX4594 XXXX                             -140.00
              XXXX XXXX 4S94
  12/18/23    TOM THUMB 328 12/16 #000795932 PURCHASE TOM THUMB 328            SOUTHWEST RAN FL                            -26.42
  12/19/23    SUPER DUPER LI 12/19 #000076228 PURCHASE SUPER DUPER LIQUO LAUDERDALE LA FL
  12/19/23    SUPER DUPER LI 12/19 #000076229 PURCHASE SUPER DUPER LIQUO LAUDERDALE LA FL                                    -9.62
  12/19/23    SUPER DUPER LI 12/19 #000076230 PURCHASE SUPER DUPER LIQUO LAUDERDALE LA FL                                 -119.80
  12/19/23    CHECKCARD 1219 NNT FIVE STAR TAMARAC       FL CKCD 5462 XXXXXXXXXXXX4594 XXXX XXXX                           -35.26
              xxxx4594
  12/19/23    BALENCIAGA #73 12/19 #000346571 PURCHASE 12801 WEST SUNRIS SUNRISE           FL                          -3 ,524.58
  12/19/23    PUBLIX SUPER M 12/19 #000039119 PURCHASE PUBLIX SUPER MAR DAVIE             FL                              -256.26
  12/19/23    PUBLIX SUPER M 12/19 #000203439 WITHDRWL 13700 W STATE RD DAVIE             FL                              -302.95
   12/20/23   CHECKCARD 1220 COMCAST CABLE COMMUN IC BOO-COMCAST FL                                                        -78.86
              24692163354103273166994 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
              4594
  12/20/23    CHECKCARD 1220 FORMSWIFT.COM/CHARGE 888-311-2977 CA 24692163354103127201948                                   -37.00
              CKCD 8999 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/26/23   PURCHASE 1222 Spotify USA 877-7781161 NY                                                                     -12.45
                                                                                                          continued on the next page




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                                                                                                           Exhibit 48 - 0029
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                                                                                                        Your checking account
   BANK OF AMERICA q�
   EYES ABOVE WATER LLC I Account#                             December 1, 2023 to December 31, 2023




   Withdrawals and other debits - continued
   12/26/23      CHECKCARD 1223 TMOBILE POSTPA BELLEVUE     WA 00000000000000000622798                                                         -129.67
                 RECURRING CKCD 4814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  Subtotal for card account # XXXX XXXX XXXX 4594                                                                                    -$13,693 39
  Total withdrawals and other debits                                                                                               -$276,882.45


   Service fees
     Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                Total for this period                   Total year-to-date

     Total Overdraft fees                             $40.00                                 $90.00

     Total NSF: Returned Item fees                     $0.00                                  $0.00

     We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
          - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
          your payments and purchases by automatically transferring money from your linked backup accounts when needed.
          - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
     Please call us or visit us if you have any questions or to discuss your options.
     (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
     message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

  The Monthly Fee on your primary Business Advantage Fundamentals Banking account was waived for the statement period ending 11/30/23.
  A check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
    ✓     $250+ in new net purchases on a linked Business debit card has been met

    ✓     $5,000+ combined average monthly balance in linked business accounts has been met

    ✓     Become a member of Preferred Rewards for Business has been met

   For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please
   call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

   Date          Transaction description                                                                                                        Amount

   12/01/23      Wire Transfer Fee                                                                                                              -30.00

   12/01/23      Wire Transfer Fee                                                                                                              -30.00

   12/01/23      Wire Transfer Fee                                                                                                              -30.00

   12/05/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00

   12/05/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00

   12/06/23      Wire Transfer Fee                                                                                                              -30.00

   12/06/23      Prfd Rwds for Bus-Wire Fee Waiver of $7 5                                                                                        -0.00

   12/08/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00

   12/11/23      PUBLIX SUPER M 12/09 11000242496 WITHDRWL 5855 W OAKLAND PA                                                                      -2.50
                 LAUDERHILL FL FEE CKCD       XXXXXXXXXXXX4594
   12/14/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
                                                                                                                               continued on the next poge




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                                                                                                                                Exhibit 48 - 0030
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   EYES ABOVE WATER LLC I Account#                           I December 1, 2023 to December 31, 2023



   Service fees - continued
   Date           Transaction description                                                                                 Amount
   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/18/23       Wire Transfer Fee                                                                                       -15.00

   12/18/23       Wire Transfer Fee                                                                                       -15.00

   12/19/23       Wire Transfer Fee                                                                                       -30.00

   12/19/23       Wire Transfer Fee                                                                                       -30.00

   12/19/23       PUBLIX SUPER M 12/19 #000203439 WITHDRWL 13700 W STATE RD                                                  -2.50
                  DAVIE     FL FEE CKCD    XXXXXXXXXXXX4S94

   12/19/23      PAI ISO        12/19 #000001167 BAL INQ PAI ISO                     FEE                                     -0.00

   12/20/23       Wire Transfer Fee                                                                                       -15.00

   12/22/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-22                                                                 -10.00

   12/26/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-26                                                                 -10.00

   12/26/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-26                                                                 -10.00

   12/28/23      External transfer fee - Next Day - 12/27/2023                                                               -5.00

   12/29/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-29                                                                 -10.00

   Total service fees                                                                                                 -$365.00
   Note your Ending Balance already reflects the subtraction of Service Fees.



   Daily ledger balances
   Date                                 Balance($)   Date                               Balance($)     Date            Balance ($)

   12/01                                    -34.81   12/12                                 -26.24      12/20              -77.50
   12/04                                     40.19   12/13                                   3.76      12/22             -846.33
   12/05                               29,040.19     12/14                                 445.77      12/26           -2,154.24

   12/06                               10,089.21     12/15                              3,040.77       12/27              174.55

   12/07                                    521.21   12/18                             10,006.00       12/28              169.55
   12/08                               10,021.21     12/19                                  53.36      12/29             -336.26
   12/11                                    189.76




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                                                                                                               Exhibit 48 - 0031
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                                                                                                                         BANK OF AMERICA.

   BANK OF AMERICA��                                                                                                     Preferred Rewards
                                                                                                                         For Business
   P.O. Box 15284
                                                                                                                                 Customer service information
   Wilmingt.on, DE 19850


                                                                                                                           !J    1.888.BUSINESS (1.888.287.4637)

                                                                                                                          121 bankofamerica.com
     EYES ABOVE WATER LLC
                                                                                                                           s Bank of America, N.A.
     RONALD LINDO                                                                                                            P.O. Box 25118
                                                                                                                             Tampa, FL 33622-5118
     LAUDERDALE LAKES, FL 33311-1848




   Your Business Advantage Fundamentals ™ Banking
   Preferred Rewards for Bus Gold
   for December 1, 2023 to December 31, 2023                                                                             Account number:
   EYES ABOVE WATER LLC

   Account summary
   Beginning balance on December 1, 2023                                                  $301,346.43             # of deposits/credits: 19
   Deposits and other credits                                                               275,564.76            # of withdrawals/debits: 110
   Withdrawals and other debits                                                             -76,882.45            # of items-previous cycle 1: 2
   Checks                                                                                           -0.00         # of days in cycle: 31
   Service fees                                                                                 -365.00           Average ledger balance: $486,037.41
   Ending balance on December 31, 2023                                                -$499,663.74                1
                                                                                                                      Includes checks paid, deposited items ond other debits




             BUSINESS ADVANTAGE

             View your key business metrics all in one place.
             Track the trends that matter most to your business, from cash flow and expense management to
             accounting and payroll data, all within Business Advantage 360.1
             To learn more, visit bankofamerlca.com/ConnectedApps or Just scan this code.                                                                           i
            When you use the QRC feature, certain information Is collected from your mobile device for business pu-poses.                                           [!I�      • '
          1 You must be enrolled in Business Advantage 360, our small business online banking, or Mobile Banking to use Cash Flow Monitor and Connected Apps, and have an eligible
            Bank of America• small business deposit account Mobile Banking requires that you download the Mobile Banking app and Is only available for select mobile devices.
            Message and data rates may apply.                                                                                                            SSM--08-22-0lOBB I 4878896



   PULL: E CYCLE: 67 SPEC: E DELIVERY: E TYPE:      IMAGE: I BC: CA3                                                                                              Page 1 of 8


                                                                                                                                                                  Exhibit 48 - 0032
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   EYES ABOVE WATER LLC    I Account#                 I December 1, 2023 to December 31, 2023

   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


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                             Bank of America, N.A. Member FDIC and    1=)'     Equal Housing Lender




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                                                     ---                                                                          Your checking account
   BANK OF AM ERICA                               �q
   EYES ABOVE WATER LLC I Account#                                             December 1, 2023 to December 31, 2023




   Deposits and other credits
   Date             Description                                                                                                                                                            Amount

   12/01/23         Online Banking Transfer Conf# lmeul pd89; MEHAR, JASPAL                                                                                                         25,000.00
   12/04/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# ekb6mfe5x                                                                                                               100.00
   12/05/23         WIRE TYPE:WIRE IN DATE: 231205 TIME:1659 ET TRN:2023120500490155                                                                                                19,000.00
                    SEQ:2023120500160092/499689 ORIG:YVONNE E FLEMMINGS ID:000003520820493 SND BK:
                    WELLS FARGO BANK NA ID:0407 PMT DET:00661343396524 OOLOAN
   12/05/23         WIRE TYPE:WIRE IN DATE: 231205 TIME:0607 ET TRN:2023120500221863                                                                                                10,000.00
                    SEQ:3l 51613339ES/0031l l ORIG:BURKE DEVELOPMENT GROUP, ID:915376096 SND BK:
                    JPMORGAN CHASE BANK, NA ID:021000021 PMT DET:BPL O F 23/12/05 NICKI MINAJ BOOKING
                    COMMISSION DEPOSIT
   12/06/23         WIRE TYPE:WIRE IN DATE: 231206 TIME:1555 ET TRN:2023120600454524                                                                                                10,000.00
                    SEQ:2023120600151817/498212 ORIG:RUNWAY ENTERPRISES, LLC ID:000002839138282 SND
                    BK:WELLS FARGO BANK NA ID:0407 PMT DET:241 SEA N KINGSTON SLS MIAMI 12/10
   12/06/23         Zelle payment from ROYAL PEOPLE INC Conf# gu47c94oq                                                                                                               2,000.00
   12/06/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# cmrhutpfr                                                                                                               100.00
   12/08/23         WIRE TYPE:WIRE IN DATE: 231208 TIME:1627 ET TRN:2023120800477983                                                                                                10,000.00
                    SEQ:2023120800001745/001495 ORIG:SUNS LEGACY PARTNERS, LL ID:4291227283 SND
                    BK:FIRSTBANK ID:107005047 PMT DET:SUNS LEGACY PARTNERS, LLC PHOENIX SUNS HALF
                    TIME ACT 12.15.23
   12/11/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# gqcssmfns                                                                                                               500.00
   12/13/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# efSmkuqdO                                                                                                                30.00
   12/14/23         WIRE TYPE:WIRE IN DATE: 231214 TIME:0506 ET TRN:2023121400167251                                                                                                 1,142.01
                    SEQ:SWF009594348/193215 ORIG:PHONOGRAPHIC PERFORMANCE ID:0202000001373519 SND
                    BK:BARCLAYS BANK PLC ID:0257 PMT DET:PET498722 348 B/0 PPL - Pl 07044539089 OTHERS
                    /ROC/2312130105
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325833                                                                                                 60,000.00
                    SEQ:264FT01233490009/129315 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918366
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325848                                                                                                 60,000.00
                    SEQ:264FT01233490008/129316 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918367
   12/18/23         Counter Credit                                                                                                                                                  10,000.00
                                                                                                                                                                        continued on the next page




              BANK OF AMERICA llU�INE�S I\DVI\NTAC,[                           • Update your contact Information so we can reach you If we suspect fraud.


                                     0
                                                                               • Set up alerts' In our Mobile Banking app2 so we can reach you quckly
                                                                                 If we see anything suspicious.
                                                                               • Report suspicious activity right away.
                         Fraud prevent on                                      Learn more about fraud and scam prevention in our
                  We're here to help                                           Business Security Center at bankofamerlca.com/securltybuslness.
          1 You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier"s message and data rates may apply. Delivery of
            alerts may be affected or delayed by your mobile carrier's coverage. 2 Moblle Banking requires that you download the Mobile Banking app and Is only available fur select
           mobile devices. Message and data rates may apply.                                                                                                   SSM-Ol-23-2588B I 5422885


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   EYES ABOVE WATER LLC I Account#                    I December 1, 2023 to December 31, 2023




   Deposits and other credits - continued
   Date       Description                                                                                             Amount

   12/19/23   WIRE TYPE:INTL IN DATE:231219 TIME:0525 ET TRN:2023121900124738                                    60,000.00
              5EQ:264FT01233530001/195142 ORIG:ROCK5KI ID:50200030637789 PMT DET:TOWARD5 ENT
              ERTAINMNT SERVICE

   12/27/23   RETURN OF POSTED CHECK / ITEM (RECEIVED ON 12-26)                                                    1,145.79

   12/27/23    Online Banking Transfer Conf# coi5xo24g; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                   3,200.00

   12/27/23   Online Banking Transfer Conf# h79umelg3; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                    2,300.00

   12/29/23   CreateMusicGroup DES:EDI PYMNTS ID:103843068448052 INDN:Eyes Above Water, LLC CO                     1,046.96
              ID:1462121493 CCD

   Total deposits and other credits                                                                       $275,564.76


   Withdrawals and other debits
   Date       Description                                                                                           Amount
   12/01/23   Online Banking Transfer Conf# fyfci7Iyp; williams                                                   -1,000.00
  12/01/23    WIRE TYPE:WIRE OUT OATE:231201 TIME:1353 ET TRN:2023120100492887 SERVICE                            -5,000.00
              REF:014477 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
              F ID:066004367 PMT DET:4670338 34 BALANCE OF DEPOSIT
   12/01/23   WIRE TYPE:WIRE OUT DATE:231201 TIME:1359 ET TRN:2023120100496119 SERVICE                            -4,000.00
              REF:014682 BNF:PRISTINEJEWELERS ID:1504150492 BNF BK:FLAGSTA R BANK, N.A. (FO
              ID:026013576 PMT DET:467035576
   12/01/23   Zelle payment to Nice Dj Conf# ehi37upqd                                                               -400.00
   12/01/23   WIRE TYPE:WIRE OUT DATE:231201 TIME:1617 ET TRN:2023120100571536 SERVICE                            -6,500.00
              REF:018909 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
              DET:467071508 DEPOSIT GOLF CART BALANCE 25000
  12/01/23    Online Banking Transfer Conf# h6mupuh0f; MAMA KINGSTON KITCHEN                                      -5,000.00
   12/01/23   Zelle payment to kisean Conf# eak59ozdm                                                             -2,500.00
   12/01/23   Zelle payment to Uber Man California Conf# b4q8nywxh                                                -1,600.00
  12/06/23    WIRE TYPE:WIRE OUT DATE:231206 TIME:1251 ET TRN:2023120600369648 SERVICE                          -31,000.00
              REF:009795 BNF:4610SWR LLC ID:6109006 BNF BK:UBANK ID:1131236 67 PMT DET:467720754
              DECEMBER RENT
  12/07/23    Zelle payment to JONATHAN M WILLIAMS Conf# asstwd3hu                                                   -275.00
   12/07/23   Zelle payment to Randy Conf# b6mp5mexb                                                                 -300.00
   12/07/23   Zelle payment to DENISE MCKAY Conf# hpwcqp3wr                                                       -1,000.00
   12/07/23   Online Banking Transfer Conf# gwqjos9ph; MAMA KINGSTON KITCHEN                                      -7,000.00
   12/07/23   Zelle payment to Jamaica Conf# it2bhbzp3                                                               -675.00
   12/07/23   Zelle payment to kisean Conf# d4y36mzl p                                                               -200.00
   12/07/23   Zelle payment to MATTHEW EBANKS Conf# gnhrhtxtp                                                         -50.00
   12/07/23   NewYorklife-AARP DES:INSURANCE ID:Al 1104326 INDN:JANICE TURNER                   co                     -68.00
              ID: 1951985500 TEL
   12/08/23   Zelle payment to Uber Man California Conf# hdzi7xohe                                                   -500.00
   12/11/23   Zelle payment to Grow Likes Conf# om7nu4b4g                                                            -500.00
   12/11/23   Zelle payment to Randy Conf# amp vdjzhg                                                                -100.00
   12/11/23   Zelle payment to Grow Likes Conf# arplzOjzf                                                            -500.00
   12/11/23    Online Banking Transfer Conf# fgeqq4xke; MAMA KINGSTON KITCHEN                                     -2,500.00
   12/11/23   Zelle payment to kisean Conf# bg4r4ofih                                                                -200.00
   12/11/23    Zelle payment to Lindo Security Conf# flrqmpjo2                                                       -800.00
   12/11/23    Online Banking Transfer Conf# iij87kb9c; MAMA KINGSTON KITCHEN                                        -100.00
                                                                                                     continued on the next page




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                                                                                                     Exhibit 48 - 0035
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                                                                                             Your checking account
   BANK OF AMERICA q�
   EYES ABOVE WATER LLC I Account #                      December 1, 2023 to December 31, 2023



   Withdrawals and other debits - continued
   12/14/23    Zelle payment to Robert Daniel Conf# bcisbmboS                                                             -700.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0942 ET TRN:2023121500344891 SERVICE                              -25,000.00
               REF:010344 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
               F ID:066004367 PMT DET:4690512 44
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0944 ET TRN:2023121500345609 SERVICE                              -85,000.00
               REF:010374 BNF:GOLD WATCHES IN ID:0294753091 BNF BK:REGIONS B ANK ID:062005690
               PMT DET:469051636
   12/15/23    Zelle payment to BRADLEY CROOKS Conf# cqk5gag6k                                                         -1,115.00
   12/15/23    Online Banking Transfer Conf# h4sbvimea; cunningham                                                     -1,500.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:1229 ET TRN:2023121500440538 SERVICE                                   -200.00
               REF:074670 BNF:EYES ABOVE WATER ID:1100022894719 BNF BK:TRUIS T BANK ID:263191387
               PMT DET:469090092
   12/15/23    Online Banking Transfer Conf# d7urw0shs; MAMA KINGSTON KITCHEN                                          -3,500.00
   12/15/23    Online Banking Transfer Conf# eqnypf6sp; williams                                                          -500.00
   12/15/23    Zelle payment to Eye extention Conf# clhhxqku2                                                             -500.00
   12/18/23    Zelle payment to Jamaica Conf# id0unlyob                                                                  -100.00
   12/18/23    Zelle payment to kisean Conf# pc4e3qjnu                                                                   -100.00
   12/18/23    Zelle payment to KEVIN FAIN Conf# dcabra444                                                                -300.00
   12/18/23    Online Banking Transfer Conf# ff330qfe2; MAMA KINGSTON KITCHEN                                             -300.00
   12/19/23    Legal Order, LTS Pl 21923000868                                                                       -14,641.67
   12/19/23    Zelle payment to JASMINE WALKER Conf# ejh2ce9he                                                            -300.00
   12/19/23    WIRE TYPE:WIRE OUT DATE:231219 TIME:0558 ET TRN:2023121900212706 SERVICE                              -25,000.00
               REF:003935 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
               ID:121000248 PMT DET:469455002
   12/19/23    Zelle payment to Kanema Cell Conf# dxegohy0f                                                            -2,000.00
   12/19/23    Zelle payment to Randy Conf# f0eyldmj9                                                                     -200.00
   12/19/23    Zelle payment to Hair dresser Conf# ckwmko0cS                                                             -250.00
   12/19/23    Zelle payment to Uber Man California Conf# d3296zkqj                                                      -200.00
   12/19/23    Zelle payment to Jerk Man Conf# fjyd11iwx                                                                  -250.00
   12/19/23    WIRE TYPE:WIRE OUT DATE:231219 TIME:1317 ET TRN:2023121900213200 SERVICE                              -10,200.00
               REF:070593 BNF:FLC LEASING ID:0050003789 BNF BK:LEGACY BANK O F FLORIDA
               ID:067015999 PMT DET:469455030
   12/19/23    Zelle payment to Randy Conf# ejn0ezbnr                                                                     -400.00
   12/19/23    Zelle payment to Jamaica Conf# b7sdce4k5                                                                   -200.00
   12/19/23    Zelle payment to kisean Conf# hirb9Ixus                                                                    -200.00
   12/19/23    Online Banking Transfer Conf# bcjpubdke; MAMA KINGSTON KITCHEN                                        -17,000.00
   12/22/23    EMPLOYMENT DEVEL DES:EDD EFTPMT ID:XXXXXXXXX INDN:EYES'S ABOVE WATER LL CO                                 -758.83
               ID:2282533055 CCD
   12/26/23    CarMax Auto     DES:Finance   ID:CARMAXXXXXXXXXX INDN:GALARZADONALD               CO                    -1,145.79
               ID:EXXXXXXXXX CCD
   12/27/23    TRANSFER EYES ABOVE WATER LLC:vanuys pawn Confirmation# 0571090053                                      -3,317.00
   12/27/23    Online Banking Transfer Conf# f6ck8reeh; MAMA KINGSTON KITCHEN                                          -1,000.00
                                                                                                          continued on the next poge




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                                                                                                           Exhibit 48 - 0036
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   BANK OF AMERICA                               �q
                                                    --                                                                   BANK OF AMERICA

                                                                                                                         Preferred Rewards
                                                                                                                         For Business
   P.O. Box 15284
   Wilmington, DE 19850                                                                                                          Customer service information



                                                                                                                           g 1.888.BUSINESS (1.888.287.4637)
                                                                                                                           I2l bankofamerica.com
     EYES ABOVE WATER LLC
                                                                                                                           s Bank of America, N.A.
                               S, FL 33311-1848                                                                              P.O. Box 25118
                                                                                                                             Tampa, FL 33622-5118




  Your Business Advantage Fundamentals™ Banking
  Preferred Rewards for Bus Gold
  for December 1, 2023 to December 31, 2023                                                                              Account number:
   EYES ABOVE WATER LLC

  Account summary
  Beginning balance on December 1, 2023                                                       $1,346.43           # of deposits/credits: 19
   Deposits and other credits                                                               275,564.76            # of withdrawals/debits: 110
  Withdrawals and other debits                                                             -276,882.45            # of items-previous cycle1 : 2
  Checks                                                                                            -0.00         # of days in cycle: 31
  Service fees                                                                                   -365.00          Average ledger balance: $2,717.13
  Ending balance on December 31, 2023                                                        -$336.26             1
                                                                                                                      Includes checks paid, deposited items and other debits




                                                                                                                                                                    -
             BUSINESS ADVANTAGE


             View your key business metrics all in one place.
             Track the trends that matter most to your business, from cash flow and expense management to
             accounting and payroll data, all within Business Advantage 360.1
             To learn more, visit bankofamerlca.com/ConnectedApps or just scan this code.
            When you use the QRC feature, certain information is collected from your mobile device for business purposes.
                                                                                                                                                                    -
                                                                                                                                                                    [!I� • ·'
          1 You must be enrolled in Business Advantage 360, our small business online banking. or Mobile Banking to use Cash Flow Monitor and Connected Apps, and have an eligible
            Bank of America" small business deposit account Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices.
            Message and data rates may apply.                                                                                                            SSM-08-22-0106.B 1 "878896



   PULL: E CYCLE: 67 SPEC: E DELIVERY: E lYPE: IMAGE: I BC: CA3                                                                                                   Page 1 of 8


                                                                                                                                                                   Exhibit 48 - 0037
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   EYES ABOVE WATER LLC I Account If                  I December 1, 2023 to December 31, 2023

   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


   © 2023 Bank of America Corporation



                             Bank of America, N.A. Member FDIC and    '(=)     Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0038
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                                                     --                                                                           Your checking account
   BANK OF AM ERICA                               �q
   EYES ABOVE WATER LLC I Account#                                             December 1, 2023 to December 31, 2023




   Deposits and other credits
   Date             Descriptio n                                                                                                                                                          Amount
   12/01/23         Online Banking Trans fer Conf# lmeul pd89; MEHAR, JASPAL                                                                                                       25,000.00
   12/04/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# ekb6mfe5x                                                                                                              100.00
   12/05/23         WIRE TYPE:WIRE IN DATE: 231205 TIME:1659 ET TRN:2023120500490155                                                                                               19,000.00
                    SEQ:2023120500160092/499689 ORIG:YVONNE E FLEMMINGS ID:000003520820493 SND BK:
                    WELLS FARGO BANK NA ID:0407 PMT DET:00661343396524 OOLOAN
   12/05/23         WIRE TYPE:WIRE IN DATE: 231205 TIME:0607 ET TRN:2023120500221863                                                                                               10,000.00
                    SEQ:3151613339ES/003111 ORIG:BURKE DEVELOPMENT GROUP, ID:915376096 SND BK:
                    JPMORGAN CHASE BANK, NA ID:021000021 PMT DET:BPL O F 23/12/05 NICKI MINAJ BOOKING
                    COMMISSION DEPOSIT
   12/06/23         WIRE TYPE:WIRE IN DATE: 231206 TIME:1555 ET TRN:2023120600454524                                                                                               10,000.00
                    SEQ:2023120600151817/498212 ORIG:RUNWAY ENTERPRISES, LLC ID:000002839138282 SND
                    BK:WELLS FARGO BANK NA ID:0407 PMT DET:241 SEA N KINGSTON SLS MIAMI 12/10
   12/06/23         Zelle payment from ROYAL PEOPLE INC Conf# gu47c94oq                                                                                                              2,000.00
   12/06/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# cmrhutpfr                                                                                                              100.00
   12/08/23         WIRE TYPE:WIRE IN DATE: 231208 TIME:1627 ET TRN:2023120800477983                                                                                               10,000.00
                    SEQ:2023120800001745/001495 ORIG:SUNS LEGACY PARTNERS, L.L ID:4291227283 SND
                    BK:FIRSTBANK ID:107005047 PMT DET:SUNS LEGACY PARTNERS, LLC PHOENIX SUNS HALF
                    TIME ACT 12.15.23
   12/11/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# gqcssmfns                                                                                                              500.00
   12/13/23         Zelle payment from MAMA KINGSTON KITCHEN Conf# ef5mkuqd0                                                                                                               30.00
   12/14/23         WIRE TYPE:WIRE IN DATE: 231214 TIME:0506 ET TRN:2023121400167251                                                                                                 1,142.01
                    SEQ:SWF009594348/193215 ORIG:PHONOGRAPHIC PERFORMANCE ID:0202000001373519 SND
                    BK:BARCLAYS BANK PLC ID:0257 PMT DET:PET498722 348 8/0 PPL - P107044539089 OTHERS
                    /ROC/2312130105
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325833                                                                                                60,000.00
                    SEQ:264FT01233490009/129315 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918366
   12/15/23         WIRE TYPE:INTL IN DATE:231215 TIME:0906 ET TRN:2023121500325848                                                                                                60,000.00
                    SEQ:264FT01233490008/129316 ORIG:ROCKSKI ID:50200030637789 PMT DET:PMT FOR ENT
                    ERTAINMENT SERVICE INV NO 918367
   12/18/23         Counter Credit                                                                                                                                                 10,000.00
                                                                                                                                                                       continued on the next poge




              BANK Of AMERICA BUSIN[SS ADVAN TAGc                             • Update your contact information so we can reach you If we suspect fraud.


                                    0
                                                                              • Set up alerts1 In OIX Mobile Banking app2 so we can reach you quickly
                                                                                If we see anything suspicious.
                                                                              • Report suspicious activity right -away.
                    Fraud prevention:                                          Learn more about fraud and scam prevention in our
                  We're here to help                                           Business Security Center at bankofamer1ca.com/secur1tybuslness.
          1 You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's message and data rates may apply. Delivery of

          alerts may be affected or delayed by your mobile carrier's CCM!rage. 2 Mobile Banking requires that you download the Mobile Banking app and is only available for select
          mobile devices. Message and data rates may apply.                                                                                               SSM-01-23-25888 I 5422885



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                                                                                                                                                                       Exhibit 48 - 0039
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   EYES ABOVE WATER LLC      I Account#             December 1, 2023 to December 31, 2023




   Deposits and other credits - continued
   Date        Description                                                                                           Amount

   12/19/23    WIRE TYPE:INTL IN DATE:231219 TIME:0525 ET TRN:2023121900124738                                  60,000.00
               SEQ:264FT01233530001 /195142 ORIG:ROCKSKI ID:50200030637789 PMT DET:TOWARDS ENT
               ERTAINMNT SERVICE
   12/27/23    RETURN OF POSTED CHECK / ITEM (RECEIVED ON 12-26)                                                  1,145.79
   12/27/23    Online Banking Transfer Conf# coi5xo24g; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                  3,200.00
   12/27/23   Online Banking Transfer Conf# h79umelg3; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                   2,300.00
   12/29/23   CreateMusicGroup DES:EDI PYMNTS ID:103843068448052 INDN:Eyes Above Water, LLC CO                    1,046.96
              ID:1462121493 CCD

   Total deposits and other credits                                                                      $275,564.76


   Withdrawals and other debits
   12/01/23   Online Banking Transfer Conf# fyfci7Iyp; williams                                                  -1,000.00
   12/01/23   WIRE TYPE:WIRE OUT DATE:231201 TIME:1353 ET TRN:2023120100492887 SERVICE                           -5,000.00
              REF:014477 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
              F ID:066004367 PMT DET:4670338 34 BALANCE OF DEPOSIT
   12/01/23   WIRE TYPE:WIRE OUT DATE:231201 TIME:1359 ET TRN:20231201004961 l 9 SERVICE                         -4,000.00
              REF:014682 BNF:PRISTINE JEWELERS ID:1504150492 BNF BK:FLAGSTA R BANK, N.A. (FO
              ID:026013576 PMT DET:467035576
   12/01/23   Zelle payment to Nice Dj Conf# ehi37upgd                                                             -400.00
   12/01/23   WIRE TYPE:WIRE OUT DATE:231201 TIME:1617 ET TRN:2023120100571536 SERVICE                           -6,500.00
              REF:018909 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
              DET:467071508 DEPOSIT GOLF CART BALANCE 25000
   12/01/23   Online Banking Transfer Conf# h6mupuh0f; MAMA KINGSTON KITCHEN                                     -5,000.00
   12/01/23   Zelle payment to kisean Conf# eak59ozdm                                                           -2,500.00
   12/01/23   Zelle payment to Uber Man California Conf# b4g8nywxh                                              -1,600.00
   12/06/23   WIRE TYPE:WIRE OUT DATE:231206 TIME:1251 ET TRN:2023120600369648 SERVICE                         -31,000.00
              REF:009795 BNF:4610SWR LLC ID:6109006 BNF BK:UBANK ID:1131236 67 PMT DET:467720754
              DECEMBER RENT
   12/07/23   Zelle payment to JONATHAN M WILLIAMS Conf# asstwd3hu                                                 -275.00
   12/07/23   Zelle payment to Randy Conf# b6mp5mexb                                                               -300.00
   12/07/23   Zelle payment to DENISE MCKAY Conf# hpwcgp3wr                                                      -1,000.00
   12/07/23   Online Banking Transfer Conf# gwqjos9ph; MAMA KINGSTON KITCHEN                                     -7,000.00
   12/07/23   Zelle payment to Jamaica Conf# it2bhbzp3                                                             -675.00
   12/07/23   Zelle payment to kisean Conf# d4y36mzl p                                                             -200.00
   12/07/23   Zelle payment to MATTHEW EBANKS Conf# gnhrhtxtp                                                       -50.00
   12/07/23   NewYorklife-AARP DES:INSURANCE ID:AXXXXXXXX INDN:JANICE TURNER                co                      -68.00
              ID:1951985500 TEL
   12/08/23   Zelle payment to Uber Man California Conf# hdzi7xohe                                                 -500.00
   12/11/23   Zelle payment to Grow Likes Conf# om7nu4b4g                                                          -500.00
   12/11/23   Zelle payment to Randy Conf# ampvdjzhg                                                               -100.00
   12/11/23   Zelle payment to Grow Likes Conf# arplzOjzf                                                          -500.00
   12/11/23   Online Banking Transfer Conf# fgegg4xke; MAMA KINGSTON KITCHEN                                     -2,500.00
   12/11/23   Zelle payment to kisean Conf# bg4r4ofih                                                              -200.00
   12/11/23   Zelle payment to Lindo Security Conf# flrgmpjo2                                                      -800.00
   12/11/23   Online Banking Transfer Conf# iij87kb9c; MAMA KINGSTON KITCHEN                                       -100.00
                                                                                                   continued on the nex.t page




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                                                                                                   Exhibit 48 - 0040
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                                                                                              Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                        December 1, 2023 to December 31, 2023




   Withdrawals and other debits - continued
   12/14/23    Zelle payment to Robert Daniel Conf# bcisbmbo5                                                              -700.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0942 ET TRN:2023121500344891 SERVICE                                -25,000.00
               REF:010344 BNF:OCEAN AUTO CENTER INC ID:30000444511 BNF BK:CI TY NATIONAL BANK OF
               F ID:066004367 PMT DET:4690512 44
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:0944 ET TRN:2023121500345609 SERVICE                                -85,000.00
               REF:010374 BNF:GOLD WATCHES IN ID:0294753091 BNF BK:REGIONS B ANK ID:062005690
               PMT DET:469051636
   12/15/23    Zelle payment to BRADLEY CROOKS Conf# cgk5gag6k                                                          -1,115.00
   12/15/23    Online Banking Transfer Conf# h4sbvimea; cunningham                                                      -1,500.00
   12/15/23    WIRE TYPE:WIRE OUT DATE:231215 TIME:1229 ET TRN:2023121500440538 SERVICE                                    -200.00
               REF:074670 BNF:EYES ABOVE WATER ID:1100022894119 BNF BK:TRUIS T BANK ID:263197387
               PMT DET:469090092
   12/15/23    Online Banking Transfer Conf# d7urw0shs; MAMA KINGSTON KITCHEN                                           -3,500.00
   12/15/23    Online Banking Transfer Conf# eqnypf6sp; williams                                                           -500.00
   12/15/23    Zelle payment to Eye extention Conf# clhhxqku2                                                              -500.00
   12/18/23    Zelle payment to Jamaica Conf# idOunlyob                                                                    -100.00
   12/18/23    Zelle payment to kisean Conf# pc4e3qjnu                                                                     -100.00
   12/18/23    Zelle payment to KEVIN FAIN Conf# dcabra444                                                                 -300.00
   12/18/23    Online Banking Transfer Conf# ff330qfe2; MAMA KINGSTON KITCHEN                                              -300.00
   12/19/23    Legal Order, LTS Pl21923000868                                                                         -14,641.67
   12/19/23    Zelle payment to JASMINE WALKER Conf# ejh2ce9he                                                             -300.00
   12/19/23    WIRE TYPE:WIRE OUT DATE:231219 TIME:0558 ET TRN:2023121900212706 SERVICE                               -25,000.00
               REF:003935 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
               ID:127000248 PMT DET:469455002
   12/19/23    Zelle payment to Kanema Cell Conf# dxegohyOf                                                             -2,000.00
   12/19/23    Zelle payment to Randy Conf# f0eyldmj9                                                                      -200.00
   12/19/23    Zelle payment to Hair dresser Conf# ckwmko0c5                                                               -250.00
   12/19/23    Zelle payment to Uber Man California Conf# d3296zkqj                                                        -200.00
   12/19/23    Zelle payment to Jerk Man Conf# fjydl1iwx                                                                   -250.00
   1
   . 2/19/23   WIRE TYPE:WIRE OUT DATE:231219 TIME:7317 ET TRN:2023121900273200 SERVICE                               -10,200.00
               REF:010593 BNF:FLC LEASING ID:0050003789 BNF BK:LEGACY BANK O F FLORIDA
               ID:067015999 PMT DET:469455030
   12/19/23    Zelle payment to Randy Conf# ejnOezbnr                                                                      -400.00
   12/19/23    Zelle payment to Jamaica Conf# b7sdce4k5                                                                    -200.00
   12/19/23    Zelle payment to kisean Conf# hirb9Ixus                                                                     -200.00
   12/19/23    Online Banking Transfer Conf# bcjpubdke; MAMA KINGSTON KITCHEN                                         -11,000.00
   12/22/23    EMPLOYMENT DEVEL DES:EDD EFTPMT ID:XXXXXXXXX INDN:EYES'S ABOVE WATER LL CO                                  -758.83
               ID:2282533055 CCD
   12/26/23    CarMax Auto   DES:Finance     ID:CARMAXXXXXXXXXX INDN:GALARZADONALD                CO                    -1,145.79
               ID:EXXXXXXXXX CCD
   12/27/23    TRANSFER EYES ABOVE WATER LLC:vanuys pawn Confirmation# 0571090053                                       -3,317.00
   12/27/23    Online Banking Transfer Conf# f6ck8reeh; MAMA KINGSTON KITCHEN                                           -1,000.00
                                                                                                           continued on the next poge




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                                                                                                            Exhibit 48 - 0041
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   EYES ABOVE WATER LLC I Account II            I   December 1, 2023 to December 31, 2023




   Withdrawals and other debits - continued
    a          Desc i                                                                                                     n
   12/29/23     FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC CO                  -1,269.20
                ID:3590247775 WEB
   12/29/23     FPL DIRECT DEBIT DES:ELEC PYMT ID:4913049344 WEBI INDN:EYES ABOVE WATER LLC CO                     -273.57
                ID:3590247775 WEB
   Card account # XXXX XXXX XXXX 4594
   12/01/23    CHECKCARD 1130 APPLE.COM/BILL 866-712-7753 CA 24692163335108571729637                                 -14.99
               RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/01/23    CHECKCARD 1130 NW HEART & HEALTH STAT MARGATE      FL 24761973334206980400136                       -276.25
               CKCD 8011 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/04/23    CHECKCARD 1201 PROBATIONER PYMTS 866-931-2222 CA 24137463335300909704088 CKCD                        -25.00
               9399 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/06/23    CHECKCARD 1205 APPLE.COM/BILL 866-712-7753 CA 24692163339102996965039                                 -10.99
               RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/06/23    CHECKCARD 1206 APPLE COM BILL CUPERTINO CA 00000000000000000686677 RECURRING                           -9.99
               CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/11/23    CHECKCARD 1208 APPLE.COM/BILL 866-712-7753 CA 24692163342105252866770                                  -9.99
               RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/11/23    CHECKCARD 1208 APPLE.COM/BILL 866-712-7753 CA 24692163342105310300630                                  -5.99
               RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/11/23    CHECKCARD 1210 APPLE.COM/BILL 866-712-7753 CA 24692163344107060945083                                -11.99
               RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/11/23     CHECKCARD 1209 NATL GEN INS N WINSTON NC CKCD 6300 XXXXXXXXXXXX4594 XXXX                         -2,450.00
               xxxx xxxx 4594
  12/11/23     PUBLIX SUPER M 12/09 #000242496 WITHDRWL 5855 W OAKLAND PA LAUDERHILL FL                           -402.95
  12/11/23     BALENCIAGA #73 12/09 #000919634 PURCHASE 12801 WEST SUNRIS SUNRISE       FL                      -2,689.98
  12/11/23     CHECKCARD 1210 TST* MATCHBOX SAWGRASS SUNRISE FL 24137463344500788541019                            -58.05
               CKCD 5812 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/12/23    CHECKCARD 1209 The New Blue Mtn Rest & Lauderhill FL 24744553346240001695067 CKCD                   -216.00
               5812 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  12/18/23     NNT DESTINATIO 12/16 #000015322 PURCHASE 13001 W. SUNRISE SUNRISE       FL                         -894.52
  12/18/23     BALENCIAGA #73 12/16 #000878344 PURCHASE 12801 WEST SUNRIS SUNRISE       FL                      -1,143.83
  12/18/23     CHECKCARD 1216 TMOBILE POSTPA BELLEVUE WA CKCD 4814 XXXXXXXXXXXX4594 XXXX                          -140.00
               xxxx xxxx 4594
  12/18/23     TOM THUMB 328 12/16 #000795932 PURCHASE TOM THUMB 328 SOUTHWEST RAN FL                               -26.42
  12/19/23     SUPER DUPER LI 12/19 #000076228 PURCHASE SUPER DUPER LIQUO LAUDERDALE LA FL                         -800.00
  12/19/23     SUPER DUPER LI 12/19 #000076229 PURCHASE SUPER DUPER UQUO LAUDERDALE LA FL                            -9.62
  12/19/23     SUPER DUPER LI 12/19 #000076230 PURCHASE SUPER DUPER LIQUO LAUDERDALE LA FL                         -119.80
  12/19/23     CHECKCARD 1219 NNT FIVE STAR TAMARAC      FL CKCD 5462 XXXXXXXXXXXX4594 XXXX XXXX                    -35.26
               xxxx 4594
   12/19/23    BALENCIAGA #73 12/19 #000346571 PURCHASE 12801 WEST SUNRIS SUNRISE    FL                         -3,524.58
   12/19/23    PUBLIX SUPER M 12/19 #000039119 PURCHASE PUBLIX SUPER MAR DAVIE    FL                              -256.26
   12/19/23    PUBLIX SUPER M 12/19 #000203439 WITHDRWL 13700 W STATE RD DAVIE    FL                              -302.95
   12/20/23    CHECKCARD 1220 COMCAST CABLE COMMUN IC 800-COMCAST FL                                                -78.86
               24692163354103273166994 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
               4594
   12/20/23    CHECKCARD 1220 FORMSWIFT.COM/CHARGE 888-311-2977 CA 24692163354103127201948                          -37.00
               CKCD 8999 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   12/26/23    PURCHASE 1222 Spotify USA 877-7781161 NY                                                             -12.45
                                                                                                   continued on the next page




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                                                                                                    Exhibit 48 - 0042
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                                                                                                    Your checking account
   BANK OF AMERICA q�
   EYES ABOVE WATER LLC I Account#                            December 1, 2023 to December 31, 2023




   Withdrawals and other debits - continued
   12/26/23    CHECKCARD 1223 TMOBILE POSTPA BELLEVUE WA 00000000000000000622798                                                               -129.67
               RECURRING CKCD 4814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   Subtotal for card account # XXXX XXXX XXXX 4594                                                                                   -$13,693 39
   Total withdrawals and other debits                                                                                              -$276,882.45


   Service fees
     Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period                Total year-to-date

     Total Overdraft fees                            $40.00                              $90.00
     Total NSF: Returned Item fees                    $0.00                               $0.00
     We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
         - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
         your payments and purchases by automatically transferring money from your linked backup accounts when needed.
         - Sign up for Alerts (footnote l) to get an email or text message when your balance becomes low
     Please call us or visit us if you have any questions or to discuss your options.
     (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
     message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

   The Monthly Fee on your primary Business Advantage Fundamentals Banking account was waived for the statement period ending 11/30/23.
   A check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
    ✓     $250+ in new net purchases on a linked Business debit card has been met
    ✓     $5,000+ combined average monthly balance in linked business accounts has been met
    ✓     Become a member of Preferred Rewards for Business has been met

   For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please
   call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
   Date          Transaction description                                                                                                        Amount

   12/01/23      Wire Transfer Fee                                                                                                              -30.00
   12/01/23      Wire Transfer Fee                                                                                                              -30.00
   12/01/23      Wire Transfer Fee                                                                                                              -30.00
   12/05/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   l2/0S/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   12/06/23      Wire Transfer Fee                                                                                                              -30.00
   12/06/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00

   12/08/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   12/11/23      PUBLIX SUPER M 12/09 #000242496 WITHDRWL 5855 W OAKLAND PA                                                                       -2.50
                 LAUDERHILL FL FEE CKCD      XXXXXXXXXXXX4594
   12/14/23      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
                                                                                                                               continued on the next page




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                                                                                                                                Exhibit 48 - 0043
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   EYES ABOVE WATER LLC I Account#                           I December 1, 2023 to December 31, 2023



   Service fees - continued
   Date          Transaction description                                                                                  Amount
   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/15/23       Wire Transfer Fee                                                                                       -30.00

   12/18/23       Wire Transfer Fee                                                                                       -15.00

   12/18/23       Wire Transfer Fee                                                                                       -15.00

   12/19/23      Wire Transfer Fee                                                                                        -30.00

   12/19/23       Wire Transfer Fee                                                                                       -30.00

   12/19/23       PUBLIX SUPER M 12/19 #000203439 WITHDRWL 13700 W STATE RD                                                  -2.50
                  DAVIE     FL FEE CKCD    XXXXXXXXXXXX4594

   12/19/23       PAI ISO      12/19 #000007167 BAL INQ PAI ISO                      FEE                                     -0.00

   12/20/23       Wire Transfer Fee                                                                                       -15.00

   12/22/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-22                                                                 -10.00

   12/26/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-26                                                                 -10.00

   12/26/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-26                                                                 -10.00

   12/28/23      External transfer fee - Next Day - 12/27/2023                                                               -5.00

   12/29/23      OVERDRAFT ITEM FEE FOR ACTIVITY OF 12-29                                                                 -10.00

   Total service fees                                                                                                 -$365.00
   Note your Ending Balance already reflects the subtraction of Service Fees.




   Daily ledger balances
   Date                                Balance($)    Date                               Balance($)     Date            Balance (S)

   12/01                                   -34.81    12/12                                 -26.24      12/20              -77.50
   12/04                                    40.19    12/13                                   3.76      12/22            -846.33
   12/05                              29,040.19      12/14                                 445.77      12/26           -2,154.24
   12/06                              10,089.21      12/15                              3,040.77       12/27             174.55
   12/07                                   521.21    12/18                             10,006.00       12/28             169.55
   12/08                              10,021.21      12/19                                  53.36      12/29            -336.26
   12/11                                   189.76




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                                                                                                               Exhibit 48 - 0044
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   BANK OF AMERICA��
                                                   --                                      BANK OF AMERICA

                                                                                           Preferred Rewards
                                                                                           For Business
    P.O. Box 15284
    Wilmington, DE 19850                                                                           Customer service information



                                                                                             ll 1.888.BUSINESS (1.888.287.4637)
                                                                                            121 bankofamerica.com
     EYES ABOVE WATER LLC
                                                                                             s Bank of America, N.A.
     LAUDERDALE LAKES, FL 33311-1848                                                           P.O. Box 25118
                                                                                               Tampa, FL 33622-5118




    0.    Please see the Important Mqsages � Please Read section of your state�nt for Important details that could impact you.



   Your Business Advantage Fundamentals™ Banking
   Preferred Rewards for Bus Gold
   for January 1, 2024 to January 31, 2024                                                 Account number:
   EYES ABOVE WATER LLC


   Account summary
   Beginning balance on January 1, 2024                                     -$336.26   # of deposits/credits: 28
   Deposits and other credits                                             225,156.00   # of withdrawals/debits: 78
   Withdrawals and other debits                                          -223,421.58   # of items-previous cycle': 1

   Checks                                                                    -370.00   # of days in cycle: 31

   Service fees                                                              -212.50   Average ledger balance: $257.11
   Ending balance on January 31, 2024                                       $815.66    'Includes checks paid, deposited items and other debits




                                       You've got a banking partr1er reacly to help.
                                            As your dedicated Small Business                     Contact me today.
                                                                                                 Ata Tousi
                                            Specialist, I'm here to help with all                818.532.1170
                                            of your business's financial needs                   ata.a.tousi@bofa.com
                                            and priorities.
                                                                                                                          SSM-09-23-0714.8 I 597250-4




   PULL: E CYCLE: 67   SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: CA1                                                                Page 1 of 12

                                                                                                                                   Exhibit 48 - 0045
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   EYES ABOVE WATER LLC I Account#                      January 1, 2024 to January 31, 2024

   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


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                             Bank of America, N.A. Member FDIC and     Q         Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0046
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   BANK OF AMERICA                               �q
                                                    --                                                                          Your checking account
  EYES ABOVE WATER LLC I Account#                                         I January 1, 2024 to January 31, 2024




   Deposits and other credits
   Date            Description                                                                                                                                            Amount
   01/02/24        RETURN OF POSTED CHECK / ITEM (RECEIVED ON 12-29)                                                                                                      273.57
  01/02/24         Flite Events LLC DES:6566CB3C1C ID:2401021301074 INDN:Eyes Above Water LLC                                             CO ID:                      12,500.00
                   XXXXXXXXX CCD

  01/02/24         Online Banking Transfer Conf# i5kkxdvh9; MAMA KINGSTON KITCHEN                                                                                         800.00
  01/02/24         Online Banking Transfer Conf# g6z9v yse5; MAMA KINGSTON KITCHEN                                                                                          20.00
  01/03/24         Online Banking Transfer Conf# aekg8wmep; MAMA KINGSTON KITCHEN                                                                                      1,000.00
  01/03/24         Online Banking Transfer Conf# g77arwgwp; MAMA KINGSTON KITCHEN                                                                                         100.00
  01/04/24         WIRE TYPE:WIRE IN DATE: 240104 TIME:1050 ET TRN:2024010400328918                                                                                  40,000.00
                   SEQ:3252374004ES/015756 ORIG:INFINITE BRANDS LLC ID:579037919 SND BK:JPMOR GAN
                   CHASE BANK, NA ID:021000021 PMT DET:BOH OF 24/ 01 /04 CLEV FULL PAYMENT 1/8 & DEP
                   FOR SUMMER

  01/04/24         Online Banking Transfer Conf# bwkk3vzpe; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                                                                 16,000.00

  01/04/24         Online Banking Transfer Conf# evqxa6tvc; MAMA KINGSTON KITCHEN                                                                                         200.00

  01/05/24         Zelle payment from MAMA KINGSTON KITCHEN Conf# lmz8cnfht                                                                                               100.00

  01/11/24         RETURN OF POSTED CHECK / ITEM (RECEIVED ON 01-10)                                                                                                   1,514.21

  01/16/24         Online Banking Transfer Conf# alt48wods; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                                                                 25,000.00

  01/16/24         Zelle payment from MAMA KINGSTON KITCHEN Conf# bsuh10j5d                                                                                               200.00

  01I16n4          Wise Inc   DES:DTSTSAIOBV ID:DTSTSAIOBV INDN:Eyes above water lie                                        CO ID:XXXXXXXXX                                 50.82
                   CCD PMT INFO:From STEM DISINTERMEDIA, INC. Via WISE

  01/17/24         WIRE TYPE:WIRE IN DATE: 240117 TIME:1632 ET TRN:2024011700511571                                                                                  12,500.00
                   SEQ:3536114017ES/027832 ORIG:GABEMEDIA LLC ID:387331983 SND BK:JPMORGAN CH ASE
                   BANK, NA ID:021000021 PMT DET:BOH OF 24/01/17

  01/18/24         Online Banking Transfer Conf# d8k800qb4; MAMA KINGSTON KITCHEN                                                                                        500.00
  01122n4          Online Banking Transfer Conf# dx5sbula5; MAMA KINGSTON KITCHEN                                                                                           60.00

  01/22/24         GoDaddy Payments DES:Dep 01/19 ID:19e9cac2-057c- INDN:Janice Turner                                               co                                     33.89
                   ID:5819168222 CCD
                                                                                                                                                          continued on the next page




          OJ Important information about payment scams
                      We wlll never�.
                      • call and ask you to send money using Zelle<I> to yoLM"Self or anyone else.
                      • contact you via phone or text to ask for a security code.
                      • reach out to you and ask you to send money or provide a code. If someone unfarnifiar to you does this, it's likely a scam.
                      Treat Zelle <I> payments like cash - once you send money, you're unlikely to ge t it back.
                      learn more about trending scams at bofa.com/helpprotectyourself
             Zelle® am the Zelle® related marks are wholly owned by Early Warning Services, LLC and are used herein under license.                 SSM�23-0692A I 6039180




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   EYES ABOVE WATER LLC      I   Account#           I January 1, 2024 to January 31, 2024




   Deposits and other credits - continued
   Date        Description                                                                                                  Amount

   01/23/24    WIRE TYPE:WIRE IN DATE: 240123 TIME:1320 ET TRN:2024012300453739                                         30,000.00
               SEQ:3370494023ES/018392 ORIG:BURKE DEVELOPMENT GROUP, ID:915376096 SND BK:
               JPMORGAN CHASE BANK, NA ID:021000027 PMT DET:BPL OF 24/01/23 REFUNDABLE DEPOSIT
               (NEW YORK, NY 3-29-2

   01/24/24    Flite Events LLC DES:679FBC1316 ID:24012319450168 INDN:Eyes Above Water LLC       CO                     12,SOO.OO
               ID:XXXXXXXXX CCD

   01/26/24    WIRE TYPE:WIRE IN DATE: 240126 TIME:1457 ET TRN:2024012600432512                                        12,500.00
               SEQ:2024012600140205/499399 ORIG:CMB HOSPITALITY LLC ID:000007264240255 SND
               BK:WELLS FARGO BANK NA ID:0407 PMT DET:OW00004 0866063522 MARCH DEPOSIT

   01/29/24    WIRE TYPE:BOOK IN DATE:240129 TIME:0429 ET TRN:2024012900060397 SNDR REF:475104332                       15,000.00
               ORIG:TOUR MOGUL LLC ID:457048844224 PMT DET:SEAN K INGSTON DEP FOR JOILET IL 030

   01 /29/24   SB VISION LLC DES:ACH Pmt ID:11121084408 INDN:Eyes Above Water LLC CO                                   15,000.00
               ID:9200502235 CCD PMT INFO:Artist Payment: Sean Kingston - 05/18/24 (Dartmouth)

   01/29/24    WIRE TYPE:WIRE IN DATE: 240129 TIME:0429 ET TRN:2024012900244849                                        10,000.00
               SEQ:3134674029ES/002683 ORIG:VEW LIVE, LLC ID:915386681 SND BK:JPMORGAN CH ASE
               BANK, NA ID:021000021 PMT DET:BPL OF 24/01/29 SEAN KINGSTON DEPOSIT BAL. (SK PLUSSK
               COMMISSION)

   01/29/24    CreateMusicGroup DES:EDI PYMNTS ID:l 03843070304928 INDN:Eyes Above Water, LLC CO                            903.51
               ID:1462121493 CCD

   01/30/24    Zelle payment from MAMA KINGSTON KITCHEN Conf# nOdvufiOI                                                     100.00

   01/31/24    WIRE TYPE:WIRE IN DATE: 240131 TIME:1330 ET TRN:2024013100525455                                        17,500.00
               SEQ:3476674031ES/044296 ORIG:INFINITE BRANDS LLC ID:579037919 SND BK:JPMOR GAN
               CHASE BANK, NA ID:021000021 PMT DET:BOH OF 24/ 01/31

   01/31/24    Zelle payment from MAMA KINGSTON KITCHEN Conf# folsbsfnd                                                     800.00

   Total deposits and other credits                                                                             $225,156.00


   Withdrawals and other debits
  Date         Description                                                                                                Amount
   01/02/24    Online Banking Transfer Conf# gf95c5gmi; MAMA KINGSTON KITCHEN                                         -12,400.00
   01/03/24    WIRE TYPE:WIRE OUT DATE:240103 TIME:1443 ET TRN:2024010300447870 SERVICE                                    -100.00
               REF:012436 BNF:EYES ABOVE WATER LLC ID:572868878 BNF BK:JPMOR GAN CHASE BANK, NA
               ID:322271627 PMT DET:471791024
   01/04/24    Zelle payment to RICHARD LINDO for "Rent"; Conf# gpto9p4pe                                                  -500.00
   01/04/24    Online Banking Transfer Conf# igys271xh; MAMA KINGSTON KITCHEN                                         -25,000.00
   07/04/24    WIRE TYPE:WIRE OUT DATE:240104 TIME:1255 ET TRN:2024010400386163 SERVICE                               -31,000.00
               REF:011431 BNF:461OSWR LLC ID:6109006 BNF BK:UBANK ID:1131236 67 PMT DET:471951656
               JANUARY RENT
   01/05/24    FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC            CO                   -591.38
               ID:3590247775 WEB
   01/05/24    FPL DIRECT DEBIT DES:ELEC PYMT ID:4913049344 WEB! INDN:EYES ABOVE WATER LLC            CO                   -268.57
               ID:3590247775 WEB
   01/08/24    NewYorklife-AARP DES:INSURANCE ID:AXXXXXXXX INDN:JANICE TURNER               CO                              -68.00
               ID:1951985500 TEL
   01/10/24    NATIONAL GENERAL DES:PAYMENT        ID:2021066937-00 INDN:JANICE TURNER           CO                     -1,514.21
               ID:1005005023 PPD
   01 /16/24   Online Banking Transfer Conf# c8wl 2at6; cunningham                                                      -2,000.00
                                                                                                           continued on the next poge




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                                                                                                            Exhibit 48 - 0048
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                                                                                                 Your checking account
   BANK OF AMERICA q�
   EYES ABOVE WATER LLC     I   Account#                 I January 1, 2024 to January 31, 2024




   Withdrawals and other debits - continued
   01/16/24     WIRE TYPE:WIRE OUT DATE:240116 TIME:0959 ET TRN:20240116006241 l 0 SERVICE                                        -1,000.00
                REF:013760 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
                DET:473503112 DEPOSIT
   01/16/24     Zelle payment to Kanema Cell Conf# dohf8081i                                                                      -3,000.00
   01/16/24     Zelle payment to Gardener For Privacy Fence Conf# ac0kzcsud                                                       -1,400.00
   01/16/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# a9fl f08vf                                                           -7,000.00
   01/16/24    WIRE TYPE:WIRE OUT DATE:240116 TIME:1056 ET TRN:2024011600656463 SERVICE                                           -9,000.00
               REF:015105 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
               DET:473514034
  01/16/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# iw88kpmel                                                            -1,500.00
  01/16/24     Zelle payment to Brandon New New Conf# d4hyl gy9i                                                                    -50.00
  01/17/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# hle6ohg75                                                               -40.00
  01/17/24     Online Banking Transfer Conf# bx?agmofu; MAMA KINGSTON KITCHEN                                                   -12,500.00
  01/19/24     FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC CO                                      -487.00
               ID:3590247775 WEB
  01/22/24     EMPLOYMENT DEVEL DES:EDD EFTPMT ID:1855146592 INDN:EYES'S ABOVE WATER LL CO                                           -758.83
               ID:2282533055 CCD
  01/23/24     WIRE TYPE:WIRE OUT DATE:240123 TIME:1403 ET TRN:2024012300477405 SERVICE                                           -9,000.00
               REF:012502 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
               ID:121000248 PMT DET:474489536
  01/23/24     Online Banking Transfer Conf# ge24652Ip; MAMA KINGSTON KITCHEN                                                   -18,000.00
  01/23/24     Zelle payment to Tax Kebu Conf# i4ula9kap                                                                         -2,000.00
  01/23/24     Zelle payment to Uber Man California Conf# bynvoan5s                                                                -100.00
  01/24/24     Zelle payment to MATTHEW EBANKS Conf# bpsnig3wg                                                                   -5,000.00
  01/24/24     Zelle payment to New travel agent cell Conf# c3d0c7rx2                                                            -5,000.00
  01/25/24     Zelle payment to Ad Electricial Contracting Services Inc for 'for electrical work'; Conf# gj7oh5nh7                 -225.55
  01/25/24     Zelle payment to Nice Dj Conf# g4b2kn6p7                                                                          -1,000.00
  01/26/24     Zelle payment to kisean Conf# ims3f8wyl                                                                           -4,000.00
  07/26/24     Zelle payment to Randy Conf# bclsmhofi                                                                              -200.00
  01/26/24     Zelle payment to Hype New Conf# aa9k0t73o                                                                         -1,300.00
  01/26/24     Online Banking Transfer Conf# gg0al576g; MAMA KINGSTON KITCHEN                                                    -6,500.00
  01/29/24     Online Banking Transfer Conf# li96rbxuj; MAMA KINGSTON KITCHEN                                                   -15,000.00
  01/29/24     Online Banking Transfer Conf# k0oi0y540; MAMA KINGSTON KITCHEN                                                   -25,000.00
  01/30/24     CarMax Auto DES:Finance ID:CARMAXXXXXXXXXX INDN:GALARZADONALD                             CO                      -1,145.79
               ID:EXXXXXXXXX CCD
  01/31/24     Online Banking Transfer Conf# bojl3fx45; MAMA KINGSTON KITCHEN                                                   -17,500.00
  01/31/24     CAPITAL ONE CARD DES:ONLINE DEP ID:SW059EC1061?DDS INDN:Janice Turner                        CO                      -49.00
               ID:9541719887 WEB
  Card account # XXXX XXXX XXXX 4594
   01/02/24     CHECKCARD 1230 COMCAST CABLE COMMUNIC BOO-COMCAST FL                                                                 -465.12
                24692163364101497356795 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
                4594
   07/02/24     CHECKCARD 1230 APPLE.COM/BILL 866-712-7753 CA 24692163364101883927761                                                  -14.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
                                                                                                                     continued on the next page




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                                                                                                                      Exhibit 48 - 0049
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   EYES ABOVE WATER LLC I Account#               I January 1, 2024 to January 31, 2024




   Withdrawals and other debits - continued
   Date         Description                                                                                  Amount
   01/03/24     CHECKCARD 0102 APPLE.COM/BILL 866-712-7753 CA 24692164002104158023668                         -10.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/04/24     CHECKCARD 0103 EXPEDIA 72727736369207 EXPEDIA.COM WA 24692164003104483737429                 -162.64
                CKCD 4722 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/04/24     CHECKCARD 0103 THE UPS STORE 4441 954-4731188 FL 24000974003910000687213 CKCD                  -3.21
                7399 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/08/24     CHECKCARD 0106 APPLE.COM/BILL 866-712-7753 CA 24692164006107547889604                          -9.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/08/24     CHECKCARD 0106 TMOBILE POSTPA BELLEVUE WA 00000000000000000684704                            -129.66
                RECURRING CKCD 4814 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/08/24     CHECKCARD 0106 APPLE.COM/BILL 866-712-7753 CA 24692164006107320590973                          -9.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/08/24     CHECKCARD 0106 APPLE COM BILL CUPERTINO CA 00000000000000000902015 RECURRING                   -5.99
                CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  01/16/24      CHECKCARD 0115 APPLE COM BILL CUPERTINO CA CKCD 4899 XXXXXXXXXXXX4594 XXXX                    -11.99
                xxxx xxxx 4594
  01/22/24      CHECKCARD 0120 FORMSWIFT.COM/CHARGE 888-311-2977 CA 24692164020107525484529                   -37.00
                CKCD 8999 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/22/24     CHECKCARD 0120 UBER •TRIP San FranciscoCA CKCD 4121 XXXXXXXXXXXX4594 XXXX XXXX                -34.98
                xxxx 4594
  01/23/24      CHECKCARD 0122 Spotify USA 877-7781161 NY 24204294022003037970044 RECURRING                   -12.45
                CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  01/25/24      CHECKCARD 0124 PUBLIX #1469 WESTON       FL 24137464025001395619060 CKCD 5411                -174.88
                XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  01/25/24      NNT DESTINATIO 01/25 #000025151 PURCHASE 13001 W. SUNRISE SUNRISE      FL                    -338.12
  01/26/24      CHECKCARD 0124 PENSKE TRK LSG 064011 READING PA 24138294025706000047941                       -86.92
                CKCD 7513 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4S94
   01/26/24     CHECKCARD 0124 PENSKE TRK LSG 064011 READING PA 24 l 38294025706000051562                    -101.97
                CKCD 7513 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  01/26/24      ?-ELEVEN     01/26 #000463493 PURCHASE ?-ELEVEN       DAVIE    FL                             -67.74
  01/26/24      CHECKCARD 0126 ?-ELEVEN DAVIE      FL CKCD 5542 XXXXXXXXXXXX4594 XXXX XXXX XXXX               -38.32
                4594
  01/29/24      CHECKCARD 0127 COMCAST CABLE COMMUNIC BOO-COMCAST FL                                         -479.87
                24692164027103078975479 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
                4594
  01/29/24      CHECKCARD 0126 CHICK-FIL-A #02622 DAVIE     FL 24427334027710017812042 CKCD 5814              -11.44
                XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
   01/3 l /24   CHECKCARD 0130 APPLE.COM/BILL 866-712-7753 CA 24692164030105732269384                         -14.99
                RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
  Subtotal for card account # XXXX XXXX XXXX 4594                                                      -$2,223 25
  Total withdrawals and other debits                                                                 -$223,421.58


   Checks
   Date         Check#                          Amount

   01/24/24     1425                            -370.00
   Total checks                              -$370.00
   Total# of checks                                 1




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                                                                                                   Exhibit 48 - 0050
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                                                                                                   Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                        I January 1, 2024 to January 31, 2024



   Service fees
     Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period                Total year-to-date
      Total Overdraft fees                            $40.00                             $40.00
     Total NSF: Returned Item fees                    $0.00                               $0.00
     We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
         - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
         your payments and purchases by automatically transferring money from your linked backup accounts when needed.
         - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
     Please call us or visit us if you have any questions or to discuss your options.
     (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
     message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

   The Monthly Fee on your primary Business Advantage Fundamentals Banking account was waived for the statement period ending 12/29/23.
   A check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
    ✓     $250+ in new net purchases on a linked Business debit card has been met

   Q      $5,000+ combined average monthly balance in linked business accounts has not been met
    ✓     Become a member of Preferred Rewards for Business has been met
   For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please
   call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
   Date          Transaction description                                                                                                        Amount
   01/02/24      Cash Deposit Processing                                                                                                         -22.SO
   01/03/24      Wire Transfer Fee                                                                                                              -30.00
   01/04/24      Wire Transfer Fee                                                                                                              -30.00
   01/04/24      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   01/08/24      OVERDRAFT ITEM FEE FOR ACTIVITY OF 01-08                                                                                       -10.00
   01/08/24      OVERDRAFT ITEM FEE FOR ACTIVITY OF 01-08                                                                                       -10.00
   01/16/24      Wire Transfer Fee                                                                                                              -30.00
   01/16/24      Wire Transfer Fee                                                                                                              -30.00
   01/17/24      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   01/19/24      OVERDRAFT ITEM FEE FOR ACTIVITY OF 01-19                                                                                        -10.00
   01/22/24      OVERDRAFT ITEM FEE FOR ACTIVITY OF 01-22                                                                                       -10.00
   01/23/24      Wire Transfer Fee                                                                                                              -30.00
   01/23/24      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   01/26/24      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
   07/29/24      Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                                         -0.00
                                                                                                                               continued on the next page




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                                                                                                                               Exhibit 48 - 0051
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   EYES ABOVE WATER LLC I Account#                           I January 1, 2024 to January 31, 2024



   Service fees - continued
   Date          Transaction description                                                                                  Amount
   01/29/24       Prfd Rwds for Bus-Book Credit Fee Waiver of $15                                                           -0.00

   01/31/24       Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                  -0.00

   Total service fees                                                                                                 -$212.50
   Note your Ending Balance already reflects the subtraction of Service Fees.




   Daily ledger balances
   Date                                Balance($)    Date                                 Balance($)   Date            Balance($)

   01/01                                   -336.26   01/11                                 -185.72     01/24            2,246.74
   01/02                                   354.70    01/16                                   43.11     01/25              508.19
   01/03                               1,313.71      01/17                                     3.11    01/26              713.24
   01/04                                   817.86    01/18                                  503.11     01/29            1,125.44
   01/05                                    57.91    01/19                                     6.11    01/30               79.65
   01/08                                   -185.72   01/22                                 -740.81     01/31              815.66
   01/10                               -1,699.93     01/23                                  116.74




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                                                                                                               Exhibit 48 - 0052
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  BANK OF AMERICA Q�
  EYES ABOVE WATER LLC I Account#   I January 1, 2024 to January 31, 2024




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    Important Messages - Please Read
    We want to make sure you stay up-to-date on changes, reminders, and other important details that
    could impact you.


   Good news!
   We no longer charge these service fees - here are the details.

   • Legal Order Process Fee
    On October 16, 2023, we stopped charging a fee for each legal order or process that directs us to freeze, attach or withhold
    funds or other property.

   • Check Image Service Fee
     On November 6, 2023, we stopped charging a fee for returning images of canceled checks with statements sent in the mail.

   In addition, we stopped charging these service fees on December 11, 2023:

   • Check and Statement Copy Fees
     For ordering one or more copies of your checks or statements

   • Deposit Slips and other Credit Item Copies
     For ordering one or more copies of your deposit slips or credit items

   • ATM Balance Inquiry Fees
    For requesting an account balance at a non-Bank of America ATM in the U.S. or in a foreign country

   • NV Protest Fee
    For New York residents filing a certificate of protest when a payment instrument has not been honored

   • Bond Coupon Collection Fees
     For debt obligations with coupons that represent semiannual interest payments




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                                                                                                                Exhibit 48 - 0054
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   EYES ABOVE WATER LLC I Account #       I January 1, 2024 to January 31, 2024




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   EYES ABOVE WATER LLC I Account#       I January 1, 2024 to January 31, 2024




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                                                                                            BANK OF AMERICA

   BANK OF AMERICA��                                                                        Preferred Rewards
                                                                                            For Business
    P.O. Box: 15284                                                                                 Customer service information
    Wilmington, DE 19850

                                                                                              g    1.888.BUSINESS (1.888.287.4637)

                                                                                              @ bankofamerica.com
     EYES ABOVE WATER LLC
     RONALD LINDO                                                                             s Bank of America, N.A.
                                                                                                P.O. Box 25118
                                                                                                Tampa, FL 33622-5118
     LAUDERDALE LAKES, FL 33311-1848




    0     Please see the Important Messages - Please Read section of your statementJor import.ant details that could impact you.



   Your Business Advantage Fundamentals™ Banking
   Preferred Rewards for Bus Gold
   for January 1, 2024 to January 31, 2024                                                  Account number:
   EYES ABOVE WATER LLC

   Account summary
   Beginning balance on January 1, 2024                              -$499,663.74    # of deposits/credits: 28
   Deposits and other credits                                          225,156.00    # of withdrawals/debits: 78
   Withdrawals and other debits                                       -123,421.58    # of items-previous cycle1: 1
   Checks                                                                 -370.00    # of days in cycle: 31
   Service fees                                                           -212.50    Average ledger balance: $585,434.64
   Ending balance on January 31, 2024                               $600,815.66      1
                                                                                         Includes checks paid, deposited items and other debits




                                     You've got a banking partner ready to help.
                                         As your dedicated Small Business                         Contact me today.
                                                                                                  Ata Tousi
                                         Specialist, I'm here to help with all                    818.532.11 70
                                         of your business's financial needs                       ata.a.tousi@bofa.com
                                          and priorities.
                                                                                                                           SSM-09-23-0714.B I 5972504



   PULL: E CYCLE: 67 SPEC: E DELIVERY: E TYPE: IMAGE: I BC: CA1                                                                     Page 1 of 12


                                                                                                                                    Exhibit 48 - 0057
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   EYES ABOVE WATER LLC I Account#                    I January 1, 2024 to January 31, 2024

   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   How to Contact Us - You may call us at the telephone number listed on the front of this statement.

   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
   email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
   Online Banking.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

           Tell us your name and account number.
           Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
           or why you need more information.
           Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
   have use of the money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
   not make a claim against us, for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
   or visit a financial center for information.


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                             Bank of America, N.A. Member FDIC and      G}       Equal Housing Lender




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                                                                                                                     Exhibit 48 - 0058
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   BANK OF AMERICA��
                                                     --                                                                          Your checking account
   EYES ABOVE WATER LLC I A ccount#                                        I January 1, 2024 to January 31, 2024



   Deposits and other credits
   Date             Description                                                                                                                                         Amount
   01/02/24         RETURN OF POSTED CHECK / ITEM (RECEIVED ON 12-29)                                                                                                   273.57
   01/02/24         Flite Events LLC DES:6566CB3Cl C ID:2401021301074 INDN:Eyes Above Water LLC CO ID:                                                              12,500.00
                    XXXXXXXXX CCD
   01/02/24         Online Banking Transfer Conf# i5kkxdvh9; MAMA KINGSTON KITCHEN                                                                                      800.00
   01/02/24         Online Banking Transfer Conf# g6z9vyse5; MAMA KINGSTON KITCHEN                                                                                          20.00
   01/03/24         Online Banking Transfer Conf# aekg8wmep; MAMA KINGSTON KITCHEN                                                                                   1,000.00
   01/03/24         Online Banking Transfer Conf# g77arwgwp; MAMA KINGSTON KITCHEN                                                                                      100.00
   01/04/24         WIRE TYPE:WIRE IN DATE: 240104 TIME:1050 ET TRN:2024010400328918                                                                                40,000.00
                    SEQ:3252374004ES/015756 ORIG:INFINITE BRANDS LLC ID:579037919 SND BK:JPMOR GAN
                    CHASE BANK, NA ID:021000021 PMT DET:BOH OF 24/ 01/04 CLEV FULL PAYMENT 1/8 & DEP
                    FOR SUMMER
   01/04/24         Online Banking Transfer Conf# bwkk3vzpe; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                                                               16,000.00
   01/04/24         Online Banking Transfer Conf# evqxa6tvc; MAMA KINGSTON KITCHEN                                                                                      200.00
   01/05/24         Zelle payment from MAMA KINGSTON KITCHEN Conf# lmz8cnfht                                                                                            100.00
   01/11/24         RETURN OF POSTED CHECK / ITEM (RECEIVED ON 01-10)                                                                                                1,514.21
   01/16/24         Online Banking Transfer Conf# al t48wods; MAMA KINGSTON KITCHEN, MAMA KINGSTON KIT                                                              25,000.00
   01/16/24         Zelle payment from MAMA KINGSTON KITCHEN Conf# bsuhl Oj5d                                                                                           200.00
   01/16/24         Wise Inc   DES:DTSTSAIOBV ID:DTSTSAIOBV INDN:Eyes above water lie                                         CO ID:XXXXXXXXX                               50.82
                    CCD PMT INFO:From STEM DISINTERMEDIA, INC. Via WISE
   01/17/24         WIRE TYPE:WIRE IN DATE: 240117 TIME:1632 ET TRN:2024011700511571                                                                                12,500.00
                    SEQ:3536114017ES/027832 ORIG:GABEMEDIA LLC ID:387331983 SND BK:JPMORGAN CH ASE
                    BANK, NA ID:021000021 PMT DET:BOH OF 24/01/17
   01/18/24         Online Banking Transfer Conf# d8k800qb4; MAMA KINGSTON KITCHEN                                                                                      500.00
   01/22/24         Online Banking Transfer Conf# dx5sbul a5; MAMA KINGSTON KITCHEN                                                                                         60.00
   01/22/24         GoDaddy Payments DES:Dep 01/19 ID: 19e9cac2-057c- INDN:Janice Turner                                               co                                   33.89
                    ID:5819168222 CCD
                                                                                                                                                        continued on the next page




          OJ Important information about payment scams
                       We will never".
                       • call and ask you to send money using Zelle® to yourself or anyone else.
                       • contact you via phone or text to ask for a security code.
                       • reach out to you and ask you to send money or provide a code. If someone unfamiliar to you does this, it's likely a scam.
                       Treat Zelle® payments like cash - once you send money, you're unlikely to get It back.
                       Learn more about trending scams at bofa.com/helpprotectyourself
              Zelle® and the Zelle® related marks are v.holly owned by Early Warning SeNices, LLC and are used herein under license.            SSM-09-23-0692A I 6039180




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   EYES ABOVE WATER LLC      I   Account#           I January 1, 2024 to January 31, 2024




   Deposits and other credits - continued
   Date        Description                                                                                                  Amount

   01/23/24    WIRE TYPE:WIRE IN DATE: 240123 TIME:1320 ET TRN:2024012300453739                                         30,000.00
               SEQ:3310494023ES/018392 ORIG:BURKE DEVELOPMENT GROUP, ID:915376096 SND BK:
               JPMORGAN CHASE BANK, NA ID:021000021 PMT DET:BPL O F 24/01/23 REFUNDABLE DEPOSIT
               (NEW YORK, NY 3-29-2
   07/24/24   Flite Events LLC DES:679FBC1316 ID:24012319450168 INDN:Eyes Above Water LLC        CO                     12,500.00
              ID:XXXXXXXXX CCD

   01/26/24   WIRE TYPE:WIRE IN DATE: 240126 TIME:1457 ET TRN:2024012600432512                                          12,500.00
              SEQ:2024012600140205/499399 ORIG:CMB HOSPITALITY LLC ID:000007264240255 SND
              BK:WELLS FARGO BANK NA ID:0407 PMT DET:OW00004 0866063522 MARCH DEPOSIT

   01/29/24   WIRE TYPE:BOOK IN DATE:240129 TIME:0429 ET TRN:2024012900060397 SNDR REF:475104332                        15,000.00
              ORIG:TOUR MOGUL LLC ID:457048844224 PMT DET:SEAN K INGSTON DEP FOR JOILET IL 030

   01/29/24   SB VISION LLC DES:ACH Pmt ID:11121084408 INDN:Eyes Above Water LLC CO                                     15,000.00
              ID:9200502235 CCD PMT INFO:Artist Payment: Sean Kingston - 05/18/24 (Dartmouth)
   01/29/24   WIRE TYPE:WIRE IN DATE: 240129 TIME:0429 ET TRN:2024012900244849                                          10,000.00
              SEQ:3134674029ES/002683 ORIG:VEW LIVE, LLC ID:915386681 SND BK:JPMORGAN CH ASE
              BANK, NA ID:021000021 PMT DET:BPL OF 24/01/29 SEAN KINGSTON DEPOSIT BAL. (SK PLUSSK
              COMMISSION)

   01/29/24   CreateMusicGroup DES:EDI PYMNTS ID:103843070304928 INDN:Eyes Above Water, LLC CO                              903.51
              ID:1462121493 CCD

  01/30/24    Zelle payment from MAMA KINGSTON KITCHEN Conf# n0dvufi0I                                                      100.00

   01/31/24   WIRE TYPE:WIRE IN DATE: 240131 TIME:1330 ET TRN:2024013100525455                                          17,500.00
              SEQ:3476674031ES/044296 ORIG:INFINITE BRANDS LLC ID:579037919 SND BK:JPMOR GAN
              CHASE BANK, NA ID:021000021 PMT DET:BOH OF 24/ 01/31

   01/31/24   Zelle payment from MAMA KINGSTON KITCHEN Conf# fol sbsfnd                                                     800.00

  Total deposits and other credits                                                                               $225,156.00


  Withdrawals and other debits
   01/02/24   Online Banking Transfer Conf# gf95c5gmi; MAMA KINGSTON KITCHEN                                          -12,400.00
   07/03/24   WIRE TYPE:WIRE OUT DATE:240103 TIME:1443 ET TRN:2024010300447870 SERVICE                                     -100.00
              REF:012436 BNF:EYES ABOVE WATER LLC ID:572868878 BNF BK:JPMOR GAN CHASE BANK, NA
              ID:322271627 PMT DET:471791024
   01/04/24   Zelle payment to RICHARD LINDO for "Rent"; Conf# gpto9p4pe                                                   -500.00
   01/04/24   Online Banking Transfer Conf# igys271xh; MAMA KINGSTON KITCHEN                                           -25,000.00
   01/04/24   WIRE TYPE:WIRE OUT DATE:240104 TIME:1255 ET TRN:2024010400386163 SERVICE                                -31,000.00
              REF:011431 BNF:4610SWR LLC ID:6109006 BNF BK:UBANK ID:1131236 67 PMT DET:471951656
              ANUARY RENT
   01/05/24   FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC             CO                   -591.38
              ID:3590247775 WEB
   01/05/24   FPL DIRECT DEBIT DES:ELEC PYMT ID:4913049344 WEBI INDN:EYES ABOVE WATER LLC             CO                   -268.57
              ID:3590247775 WEB
   01/08/24   NewYorklife-AARP DES:INSURANCE ID:Al 1104326 INDN:JANICE TURNER               CO                               -68.00
              ID:1951985500 TEL
   01/10/24   NATIONAL GENERAL DES:PAYMENT        ID:2021066931-00 INDN:JANICE TURNER            CO                     -1,514.21
              ID:1005005023 PPD
   01/16/24   Online Banking Transfer Conf# c8wl 2at6; cunningham                                                       -2,000.00
                                                                                                           continued on the next page




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                                                                                                            Exhibit 48 - 0060
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                                                                                                  Your checking account
   BANK OF AMERICA��
   EYES ABOVE WATER LLC I Account#                        I January 1, 2024 to January 31, 2024



   Withdrawals and other debits - continued
   01/16/24      WIRE TYPE:WIRE OUT DATE:240116 TIME:0959 ET TRN:20240116006241lO SERVICE                                          -1,000.00
                 REF:013760 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
                 DET:473503112 DEPOSIT
   01/16/24      Zelle payment to Kanema Cell Conf# dohf808Ii                                                                      -3,000.00
   01/16/24      Zelle payment to Gardener For Privacy Fence Conf# acOkzcsud                                                       -1,400.00
   01/16/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# a9flf08vf                                                             -7,000.00
   01/16/24     WIRE TYPE:WIRE OUT DATE:240116 TIME:lOS6 ET TRN:2024011600656463 SERVICE                                           -9,000.00
                REF:015105 BNF:DR GOLF CARTS LLC ID:2000503928 BNF BK:BANKPLU S ID:065301948 PMT
                DET:473514034
   01/16/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# iw88kpmel                                                            -1,SOO.OO
   01/16/24     Zelle payment to Brandon New New Conf# d4hylgy9i                                                                     -50.00
   01/17/24     Zelle payment to MAMA KINGSTON KITCHEN Conf# hle6ohg75                                                               -40.00
   01/17/24     Online Banking Transfer Conf# bx7agmofu; MAMA KINGSTON KITCHEN                                                   -12,500.00
   01/19/24     FPL DIRECT DEBIT DES:ELEC PYMT ID:5572871084 WEBI INDN:EYES ABOVE WATER LLC CO                                      -487.00
                ID:3590247775 WEB
   01/22/24     EMPLOYMENT DEVEL DES:EDD EFTPMT ID:1855146592 INDN:EYES'S ABOVE WATER LL CO                                          -758.83
                ID:2282533055 CCD
   01/23/24     WIRE TYPE:WIRE OUT DATE:240123 TIME:1403 ET TRN:2024012300471405 SERVICE                                           -9,000.00
                REF:012502 BNF:YVONNE FLEMMINGS ID:3520820493 BNF BK:WELLS FA RGO BANK, N.A.
                ID:l21000248 PMT DET:474489536
   01/23/24     Online Banking Transfer Conf# ge24652Ip; MAMA KINGSTON KITCHEN                                                   -18,000.00
   01/23/24     Zelle payment to Tax Kebu Conf# i4ula9kap                                                                         -2,000.00
   01/23/24     Zelle payment to Uber Man California Conf# bynvoanSs                                                                -100.00
   01/24/24     Zelle payment to MATTHEW EBANKS Conf# bpsnig3wg                                                                   -5,000.00
   01/24/24     Zelle payment to New travel agent cell Conf# c3d0c7rx2                                                            -5,000.00
   07/25/24     Zelle payment to Ad Electricial Contracting Services Inc for "for electrical work'; Conf# gj7ohSnh7                 -225.SS
   07/2S/24     Zelle payment to Nice Dj Conf# g4b2kn6p7                                                                          -1,000.00
   01/26/24     Zelle payment to kisean Conf# ims3f8wyl                                                                           -4,000.00
   01/26/24     Zelle payment to Randy Conf# bclsmhofi                                                                              -200.00
   01/26/24     Zelle payment to Hype New Conf# aa9k0t73o                                                                         -1,300.00
   01/26/24     Online Banking Transfer Conf# gg0al576g; MAMA KINGSTON KITCHEN                                                    -6,500.00
   01/29/24     Online Banking Transfer Conf# li96rbxuj; MAMA KINGSTON KITCHEN                                                   -15,000.00
   01/29/24     Online Banking Transfer Conf# k0oi0y540; MAMA KINGSTON KITCHEN                                                   -25,000.00
   01/30/24     CarMax Auto     DES:Finance ID:CARMAXXXXXXXXXX INDN:GALARZADONALD                         CO                      -l,14S.79
                ID:EXXXXXXXXX CCD
   01/31/24     Online Banking Transfer Conf# bojl3fx45; MAMA KINGSTON KITCHEN                                                   -17,500.00
   Ol/31/24     CAPITAL ONE CARD DES:ONLINE DEP ID:SW059EC10617DD5 INDN:Janice Turner                        CO                      -49.00
                ID:9541719881 WEB
   Card account # XXXX XXXX XXXX 4594
   01/02/24      CHECKCARD 1230 COMCAST CABLE COMMUNIC BOO-COMCAST FL                                                                 -465.12
                 24692163364101497356795 RECURRING CKCD 4899 XXXXXXXXXXXX4594 XXXX XXXX XXXX
                 4594
   01/02/24      CHECKCARD 1230 APPLE.COM/BILL 866-712-7753 CA 24692163364101883927761                                                 -14.99
                 RECURRING CKCD 5818 XXXXXXXXXXXX4594 XXXX XXXX XXXX 4594
                                                                                                                      continued on the next page




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                                                                                                                      Exhibit 48 - 0061
